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    %))&5/4+&5%/3&5.C%'5GF3%33&5%33%/GF&''3%''F3)3
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   )F'%)53/.0&5&(+$%3&&5(%'5.@%$H'H9D'&/53%3&53&/( *'
   '%,53+'%&3&((%5', )F'%)5()%3A5%HH%5 
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     Case 2:18-cv-02503-FMO-JC Document 106 Filed 10/16/19 Page 14 of 295 Page ID
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    )F'%)5.'%&3&((/'%&$53%3%5$&''&)&53+&D93&(H+&3)&55955&/
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    )&53+&D93&F%5%/$H%,F%//H3)%''%HH'&/%35%)',)&53+&D93)
    )$%)(3DG53+5%//+)&*33&+/&/.0+F+H+D%D',5$
    '/%')&53+&D93&5?5*'5=)& >7 "F&/F%5,%+5%*.
    B%D')&53+&D93&(+$ 53HH)3&5D95&55.0)%,B%D')&53+&D93&
    5H/&%'&6&*&H%/G%*&*.E93<+<%6633%/3&95*&4(%'5&(+$%3&%D93
    $&''&)&53+&D93)/H&5F&3B%D')&53+&D93&93&'3)%,&/'9)&*3&5
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    ''&(+$%3&H+4&))33&59+3F%53D%5) )H%+3,59+/5+
   %4%&'%D'H9D'&/+/+)5D93H+H5)33&59+3&H+557G&3('%&3&((.'&
   )&3&5H+H5)<%*/9)./$%)<%*63+./$?KH+&377)$%)L'&
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   %+:9%'3)F'%)53%3&53&/ *''%,./'95&%''&(+$%3&%D93
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    &5FD75&35+9F%,'&4./$%)+9F%,.3%)5/&%'$)&%3F+G5'/%'
    H+%/3&4&3&5H+?5%)$%5/&5$+&3)=+'%3)435JJJ%F%+)5
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   '&)&3&5=K)%3&*5@@7&*353%)LFD75&35?3F+G5+'%3)3
   H+53&393&=H+FD75&35)+9*5?H&&)5=.3%HH%+53%3'%&3&((955(%5&
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   955K(%5&L3$%5:9+%)&5%/39%'D95&55%/3&4&3&5%)(&%/&%'&/$.
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     Case 2:18-cv-02503-FMO-JC Document 106 Filed 10/16/19 Page 15 of 295 Page ID
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    )&('%&3&((/'%&$53%3&5%9)&/&5$&''&(''F+55/&%'$)&%
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    +*%&6&*5%)$%5/&5353/&/5H+$35H+$)'5H+FD75&35%)
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    <)&/%'',3,%+H+&$%+&',95)(+H%&+'&(.)3+%+HH'F%+
     3%G&*35)+9*5%//+)&*3H+5/+&H3&.'39*35HH'0
    %)4+3&535)+9*53&+5/&%'$)&%3F+G5.3%)4+3&53&5)+9*3
   $&''&HH'?%//+)&*3'%&3&((A5/'%&$%D93&5(''F+5=&5%D5'93',
   &''*%'%)59')DH9&5%D'.
   //+)&*3&3)3%35&5&33+5(%H&&)H&)$&/. %
   53&$%3).$&''&&)&4&)9%'5&3&3)3%3559((+)(+$59D53%/95
   )&5+)+5+'%3)3H+5/+&H3&H&&)H%&+'&4+5%)! 59((+)(+$%
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   '%&3&((H%+3&/&H%35&/+,H3/9++/,@/%*?D&3/&79F%,/&=3*3+
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    5/&%'$)&%.<+%((+%554+%'/$H'%&35(&')%*%&53&$%)%5D
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   05&/ >.3$%53%3%''(&%/&%' D95&55H%+3('%&3&((A5
   D95&55%)')D,<+%((+%)&53FA5(&%/&*'&)&3&5
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     Case 2:18-cv-02503-FMO-JC Document 106 Filed 10/16/19 Page 16 of 295 Page ID
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    5/&%'$)&%3F+G5(<+2&/3<%6633%%G%2&/3<&)&*3%)<+
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    3*3++'%3)3'/%'H+&)953+,%)3,95'&)&3&5('%&3&((3
    H+$33&+/'&35495%/3+555$)'5435.)3&5&5%3+
    4&)/3%3'&)&3&5('%&3&((F&//%'')K(%5&$%*%6&L5+4
    H+$3&H9+H5(+'/%'H+&)953+,.?JCE0=.
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     (',+*%&6)D,<+<%6633%%)&5%55/&%3<+E9//''&/4&/3)(+ 
    ,%+5&)+%'+&5(+&)3&3,3(3(',%)(+%9).
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   < I(+$%'&(+&%K4+,GF%)4+,(%$95(%5&$%*%6&L
   %)H+H5)3/''%D+%3%))KD95&55L3*3+%53)3%3()%3
   )4'H)%/3&4&3&5 $)&%9)+%$1  1  
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   ?+*%&6)D,()%3&H%+3+5&H=59HH+3)D,<%)%$%/:95&+%/
   (%5&)5&*+&++%+)&%)$%,$%,3+5.&+53)&3&(1 
    1 %5D&559)%))&53+&D93))9+&*E%')%+&5&
     #'%3+& )&53+&D93&(()%3)&3&5D/%$+*9'%+%)F%5
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   $)&%%//9359)+%$1  1 J0 1 
   < I.0&5%/3&4&3,(()%3%5&3A5FF%,%)*+F3&3*+F%H%+3
   (+$%3+D95&55%/3&4&3,(()%3N+*%&6%3&(E%''5%5&
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     Case 2:18-cv-02503-FMO-JC Document 106 Filed 10/16/19 Page 17 of 295 Page ID
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    )&3&5H+*+%$55/+535(3%//935%)3)%35?F&/&5+*&53+)
    D,5/&%'$)&%3F+G5%)/%A3D$)&(&)D,%,=F+59D$&33)3
    N+/3+%)$%+G+*&53+%3&((&/&4$D+  (++*&53+%3&(
    3+%)$%+G%)3+%5(++)31(+%HH+4%'.()%3)&)A3+*&53+)
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    &$%*&3%35$/9')D&3+53)%)5H/&%'',('5(+$%'&(+&%&
    +H+)9/3&%)+&3''/39%'H+H+3,%5535.?JCE0=.
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     &3+53(+&3''/39%'H+H+3,%5535%)+5/&%'$)&%%//935.C
    H+H5)KD95&55)4'H$3L3*3+.1 < I&5595&
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   E9//''&5(&%/)%'')&3&5H+&3)&+%/4&*5?&/'9)&*
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   %//553<+E9//''&3+5/&%'$)&%%//9353/.1<+E9//''&D3%&)
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     Case 2:18-cv-02503-FMO-JC Document 106 Filed 10/16/19 Page 19 of 295 Page ID
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    +*&53+)+3+%)$%+G5&4$D+  +%33+,&(+$)+3%33+A5
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    H+5/93&$3)5.<+<%6633%95)35%$%//95%3&5%5955&3&5
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FALL HOLIDAY 2018 WORLD ISSUE 41                                   RUNWAYLIVE.COM




SOPHIA ALI                                                             exclusive
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                                                                      Victoria Konefal
                                                                       Nikki DeLoach
CONSTANTINE’S                                                           Parveen Kaur
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                                                                SECRECY SOCIETY




            10 YEAR ANNIVERSARY                                                      1
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Editor-in-Chief                           CONTRIBUTING WRITERS
                       PHOTOGRAPHERS #:3227                       SPECIAL THANKS
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                                               Rodney Ray
                                                                                                                            Dr. Scott Keith
Fashion Director                           Patricia De La Rosa                                                          Catherine Pyle Mazzotta
JULIA PERRY                                   Oleg Bogdan                                                                  Anderson Group
Location Director                           Patrice Berchery                                                               William Goldstein
CATERINA MAZZOTTA                                                                                                               Quoc Ly
LA Event Director                                                                                                           Megan Zheng
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MANDI PIMENTAL
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STEPHANIE DAVIDSON
ANTHONY DEL CAMPO
Distribution Manager
                                            JENS HANSON
BOB PETERSON @ KABLE
                                            ELEGANT DIAMOND RING DESIGN
Advertising Inquiries                       Elegant clean lines and modern style grace this semi tension setting Marquise cut diamond
844-240-2250                                ring. The strong white gold band securely clasps the diamond without obvious support, letting
                                            it ﬂoat above the ﬁnger in a dazzling display of light. The curves of the ring are elegant and
                                            reﬁned, perfect for any occasion.


                                                                                                                A Letter from the Editor-in-Chief


    RU N WAY LI V E .CO M
                                                                                    Fall is here and bring on the warmer
                                                                                       clothes and many layers. Layering
                                     on the cover                                     fashion is what fall is all about and
                                                                                          RUNWAY brings you the hottest
                                    SOPHIA ALI                                    designers picks in style. Going into the
                                    Photographer: Mario Barberio                   holiday season things get really busy
                                    @mariobarberiophotos                           and sometime we don’t have time for
                                    Stylist: Julia Perry @juliaperrystyle         everything, we compressed it all down
                                   Hair/Makeup: Kristen Koskella                    into 140 pages of fashion to make it
                                   sponsored by Becca Cosmetics                                                       easy.
                                   @kriskoskella
                                   Assistant Stylist: Megan Zheng @                        At RUNWAY we have the new
                                  megan.z.style                                        RUNWAY LUX app coming out with its own currency RWC a
                                  Coat: Michelle Mason                            crypto coin plus the upgraded RUNWAY campus in Hollywood is
                                  Top: When Freddie Met Lilly                                                 now available to the public to book.
                                 Scarf: Darkest Star
                                 Hat: Gladys Tamez                                                    Take a moment and relax. We are RUNWAY!
                                 Jewelry: Ghostline Designs

                                                                                                                               Thank you again!
                                                                                                                                Vincent Midnight




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 AMERICAN HERO                                                          exclusive
 FIGHTING ELDER ABUSE WITH                                                 INTERVIEWS
                                                                             JENN LYON
 KERRI KASEM                                                            IKE KAWAGUCHI




            10 YEAR ANNIVERSARY                                                      1
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Editor-in-Chief                           CONTRIBUTING WRITERS
                       PHOTOGRAPHERS #:3229                       SPECIAL THANKS
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                                                                              Mandi Pimental
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                                               Rodney Ray
                                                                                Mila Grass                               Dr. Scott Keith
Fashion Director                           Patricia De La Rosa                                                       Catherine Pyle Mazzotta
JULIA PERRY                                   Oleg Bogdan                                                               Anderson Group
Location Director                           Patrice Berchery                                                            William Goldstein
CATERINA MAZZOTTA                                                                                                            Quoc Ly
LA Event Director                                                                                                        Megan Zheng
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ANTHONY DEL CAMPO
Distribution Manager
                                            CARTIER LOVE BRACELET
BOB PETERSON @ KABLE
                                            PINK GOLD, SAPPHIRES, GARNETS, AMETHYSTS
Advertising Inquiries                       Love bracelet, 18K pink gold, set with 2 pink sapphires, 2 yellow sapphires, 2 green garnets,
844-240-2250                                2 orange garnets and 2 amethysts. Sold with a screwdriver. $7,750 MSRP




                                                                                                            A Letter from the Editor-in-Chief


    RU N WAY LI V E .CO M
                                                                               Summer Runway is always the most
                                                                            far ahead issue as Miami Swim Week
                                     on the cover                                comes to an end and we get a full
                                                                                image of what 2019 swim fashion
                                   Photographer: Patricia De La                will look like. This is the ﬁrst of the 4
                                   Rosa pdelarosa.com                        tenth anniversary edition RUNWAY’s.
                                  Fashion Editor/ Style:                   In these special issues we will be bring
                                  Julia Perry juliaperrystyle.com                 back parts and pieces of the past
                                  Hair: Will Carrillo for The Rex            that gave everyone joy. The picks are
                                  Agency using Rene Furterer Paris         back, and we got a few new writers to
                                  products therexagency.com                                          balance it all out.
                                 Makeup: Patrick De Fontbrune
                                 patrickdefontbrune.com                      For those of you into ﬁnancial news you will notice the RW coin
                                 Gown: The Royals Paris                      is on the rise unlike the competition, who for some reason think
                                 Ring: Rouge by Rooj Amir                  they are tech companies and can compete in tech. It did provide
                                                                            us a good laugh here and we are ﬂattered by all the companies
                                                                              copying our crypto coin pattern. By Christmas you will be able
                                                                                to use your RW coin to purchase service worldwide with our
                                                                                                                         RUNWAY LUX app.

                                                                           As always thank you to my amazing staff and contributors, we
                                                                        had some hurdles to ﬁnish this issue including moving RUNWAY to
                                                                              its new fabulous Hollywood Blvd location right off the 101.

                                                                             Don’t forget to check out the app and buy your Runway Coins
                                                                                                                   before they go way up.



                                                                                                                                                7
                                                                                                                            Thank you again!
                                                                                                                             Vincent Midnight
               C     O   N   T   R   I B   U   T   O R   S   •   R   U N   W A     Y   ®
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WINTER 2019 WORLD ISSUE 42                                       RUNWAYLIVE.COM

GROWING UP HOLLYWOOD


RONNI                                                                 exclusive
HAWK                                                                      INTERVIEWS
                                                                            Lisa Durupt
                                                                        Adam McArthur
                                                                         Krista Stryker
                                                                            Liris Crosse




                                                                          REGENCY
                                                                            RANCH




A
TOUCH
OF
WINTER




                        WINTER 2019                                                 1
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Editor-in-Chief                           CONTRIBUTING WRITERS
                       PHOTOGRAPHERS #:3231                       SPECIAL THANKS
VINCENT MIDNIGHT                              Bonnie Holland       Cathy MazzottaMandi Pimental
Financial Director                             Joline Towers                     Melissa Farley                         Michael Cohen
DAVID SAFFRON                                                                                                        COHEN LAW GROUP
                                                  Sid Rane
                                                                                                                        Dr. Scott Keith
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LA Event Director                           Tamara Muth King
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Sales West Coast
STEPHANIE DAVIDSON
ANTHONY DEL CAMPO
Distribution Manager
BOB PETERSON @ KABLE
Advertising Inquiries
844-240-2250


                                                    Miadora 10k White Gold Created White Sapphire Bridal Ring Set


                                                                                                           A Letter from the Editor-in-Chief

                                                                                  Winter is had been a rush this year, it’s been one of the coldest
    RU N WAY LI V E .CO M                                                                winters in RUNWAY history.

                                                                                  We like to give special thanks to all
                                      on the cover                             of our models who worked in extreme
                                                                                 cold conditions and helped is thwart
                                      Ronni Hawk                                  the cold of the season. In winter we
                                                                                 get ready for the change of the new
                                    Photographer:                               year and we collect the energy of the
                                    Patricia De La Rosa                       one we love. We hope this season has
                                    @pdelarosa.com                              been grateful to all of you. We thank
                                   Fashion Editor/Stylist:                      our cover girl Ronni Hawk for visiting
                                   Julia Perry                                 children’s hospitals with her RUNWAY
                                    @juliaperrystyle.com                      along with Cat Mazzotta our president elect Editor In Chief. They
                                   Makeup:                                                         both brought smiles to so many young hearts.
                                   Patrick de Fontbrune
                                  @mchglobal.com                              At RUNWAY there has been lots of changes an addition of a new
                                   using Creme De La Mer                       studio in Hollywood for the Season and a serious upgrade to all
                                  Hair:                                          our technology. A new Version of RUNWAY LUX is coming out
                                  Carlos Ortiz                                  soon so keep your eyes open, as always you can read the past
                                 @cloutierremix.com                                                        issues of RUNWAY free on the app.
                                 IG: carlitos_hair
                                                                                 Thank You all that kept RUNWAY alive for one more season,
                                 Jacket & Dress: Once Was                     we look forward to a even more variant Spring and to bring joy
                                 Bustier: Jonathon Marc Stein                                                             around the world.
                                 Clutch: Modjewel
                                                                                                                             Thank you again!
                                                                                                                             Vincent Midnight



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Personal Information
This section contains known aliases, birth information, and potential imposters gleaned from public records.

Full Name
David Gilbert Saffron
Birth Information
Age 46
Birth Date July 24, 1972
Known Aliases
Davidsaffron Saffron



Jobs
Company (Industry)
Job Title
Dates
Bit Coin Wallet Recovery Trust

LFG

Omicron2012
Ceo

BROKEN DOOR LLC

WizKidsNow
Marketing Manager


Possible Relatives
David Gilbert Saffron's Relatives

Rebecca Brooke Saffron

Age: 38 (approx.)

Denver, Colorado



Genevieve Barbara Saffron
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                                        #:3248
1033 N Hazard Ave, Los Angeles, CA 90063-1244



4854nomaddrive, Owls Head, ME 04854



14942 Hamlin St, Van Nuys, CA 91411-1406



4854nomaddrive, Beverly Hills, CA 90213



75464 La Sierra Dr, Palm Desert, CA 92211-3161



6726 Leland Way 1, Los Angeles, CA 90028-7708



6728 Leland Way, Los Angeles, CA 90028



1033 Higard, Los Angeles, CA 90024



4854 Nomad Drive, Burbank, CA 91505



Criminal Records
A Criminal Search for David Gilbert Saffron (46 years old) in North Hollywood, CA 91601 returned the
following possible likely results:

Charges Filed Dec. 4, 1998
Source San Bernardino County Historic (California)
Case Number HU16274DS
Source
San Bernardino County Historic
Source State
California
Personal Details
First Name
David G Saffron
Middle Initial
G
Last Name
Saffron
Age
46
Date of Birth
       Case 2:18-cv-02503-FMO-JC Document 106 Filed 10/16/19 Page 96 of 295 Page ID
                                         #:3249
July 24, 1972
Sex Offender
No
Dec. 4, 1998 - Charges Filed
Charges Filed Date
Dec. 4, 1998
Crime Location
San Bernardino, California
Case Number
HU16274DS
Court Name
Court


Possible Judgments
Judgment (Jul. 24, 2018)
Name
David G Saffron
Address
4854 Nomad Dr, Woodland Hills, CA 91364-4718
Creditor Name
NOVIAN & NOVIAN LLP
Filing Location
Los Angeles, CA
Court Case Number
SC127823
Total Judgment Amount
$43,120.26
Deed Category Type
Placement
Damar Document Type
Judgment
Recording Number
739218
Recording Date
Jul. 24, 2018
Abstract Issued Date
Jul. 6, 2018

Judgment (Jun. 18, 2012)
Name
David Saffron
Address
4854 Nomad Dr, Woodland Hills, CA 91364-4718
Creditor Name
RICHARD SEAVER NORTHERN TRUST
Filing Location
Los Angeles, CA
Court Case Number
12B00073
Total Judgment Amount
$19,100
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Deed Category Type
Placement
Damar Document Type
Judgment
Recording Number
904744
Recording Date
Jun. 18, 2012
Abstract Issued Date
Jun. 1, 2012
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     Q]%XXSVRI].SLR3[IR1YVVMRERHEWTEVXSJEKVSYTSJMRZIWXSVW[I[IVIVIUYIWXMRKXLEXSYV
     SVMKMREP&MXGSMRFIVIXYVRIH8LIXSXEPEQSYRXSJ&MXGSMRGSPPIGXIHJVSQSYVKVSYTSJMRZIWXSVW
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     [LMGLMWEPMIEW-LEHNYWXKSXXIRSYXSJERLSYVPSRKQIIXMRK[MXLSYVPIKEPXIEQNYWXQMRYXIW
     FIJSVIVIGIMZMRK7EJJVSRƅWXI\X

     -HSRSXORS[LS[PSRKSVLS[QER]MRZIWXSVWLEZIFIIRWGEQQIHMRXLMWSRKSMRKGLEVEHI#

     (EZMH7EJJVSRERHLMWEXXSVRI](EZMH/EKIPQYWXFIEVVIWXIHGLEVKIHERHWXSTTIHJVSQXLMW
     GVMQMREPEGXMZMX]MQQIHMEXIP]8LI]LEZIEPVIEH]WXSPIRSZIVQMPPMSRHSPPEVWJVSQSYVWQEPPKVSYT
     SJTISTPI

     -RQ]PEWXGSVVIWTSRHIRGI[MXL(EZMH7EJJVSRLIFSEWXIHLS[MWLIGSRXMRYIWXSXVEZIPEGVSWWXLI
     GSYRXV]TVIWIRXMRKLMWJVEYHYPIRXWGLIQI,ILEWXMIWXSSVKERM^IHGVMQIMR%YWXVEPMEERHLEWE
     TEWWTSVXMWWYIHJVSQXLEXGSYRXV]-JIEVXLEXLI[MPPƽIIFIJSVIFIMRKFVSYKLXXSNYWXMGI,MWEGXMSRW
     EVISJEGSRRMZMRKJIPSRERHLIQYWXFIWXSTTIHMQQIHMEXIP]




KWWSVGLUW\VFDPFRPUHYLHZVGDYLGVDIIURQ                                                                    
Case                               'DYLG6DIIURQ±'LUW\6FDP
              2:18-cv-02503-FMO-JC Document 106     Filed 10/16/19 Page 120 of 295 Page ID
     6IPEXIH7GEQ                           #:3273

     (EZMH+MPFIVX7EJJVSR                         (EZMH7EJJVSR                     4IXV7XVIFP4IXIV7XVIFP




           'SR%VXMWXW                'V]TXS'YVVIRG]        -RXIVRIX7GEQW      6MTTIH3JJ          8LMIJ




     8LIVIZMI[WGSQTPEMRXWERHWGEQWTSWXIHEFSYX(EZMH7EJJVSRMWTIVQERERXVIGSVHPSGEXIHEX
     LXXTWHMVX]WGEQGSQVIZMI[WHEZMHWEJJVSR7IEVGLJSVEPPVIZMI[WGSQTPEMRXWERHWGEQWEFSYX(EZMH7EJJVSR


     8LIVIZMI[WGSQTPEMRXWERHWGEQWEFSYX(EZMH7EJJVSRMWTSWXIHF]ERSR]QSYW;IEXHMVX]WGEQEVIRSXPMEFPIJSVXLI
     GSRXIRXTSWXIHEFSYX(EZMH7EJJVSR-J]SYLEZIER]GSRGIVREFSYX(EZMH7EJJVSR WVITSVX]SYGERGSRXEGXYWF]YWMRK
     XLMWIQEMP


     -W(EZMH7EJJVSRPIKMX#-W(EZMH7EJJVSRUYEGO#-W(EZMH7EJJVSRJEOI#-W(EZMH7EJJVSREJVEYH[IFWMXISVFYWMRIWWSV
     TIVWSR#4PIEWI[VMXIHS[R]SYVVIZMI[SVVITSVXEJVEYHSRHMVX]WGEQGSQXSVEMWI]SYVZSMGI]SYQMKLXRSXFIEPSRI
     [LS[EWVMTTIHSJJF](EZMH7EJJVSR




           6EXIERH[VMXIEVIZMI[SR(EZMH7EJJVSR


           =SYVSZIVEPPVEXMRKSJXLMWVITSVX


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                                                 8IVVMFPI


           8MXPISJ]SYVVIZMI[

              7YQQEVM^I]SYVSTMRMSRSVLMKLPMKLXERMRXIVIWXMRKHIXEMP


           2EQI

              =SYVREQI


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KWWSVGLUW\VFDPFRPUHYLHZVGDYLGVDIIURQ                                                                                
Case         2:18-cv-02503-FMO-JC 6HDUFKIRU&DVH1XPEHUE\1DPH2QOLQH6HUYLFHV/$&RXUW
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                                                                                                                      (VSDxRO_7LӃQJ9LӋW_ଞ˲߭_ѝ᮷_၂ဳ၇့ၒ့၈



                                                                                                                                 6HDUFK




 +RPH          2QOLQH6HUYLFHV               )RUPV)LOLQJV )LOHV             6HOI+HOS                'LYLVLRQV                      -XU\                       *HQHUDO,QIR
               3D\)LQHV6HDUFK5HFRUGV   )RUPV)LOLQJ)HHV               6HOI5HS,QIR)$4V   &LYLO&ULPLQDO)DPLO\     -XU\'XW\3RUWDO4 $   &RXUWKRXVHV$'$




        21/Ζ1(6(59Ζ&(6


        6HDUFKIRU&DVH1XPEHUE\1DPHb
                                                                                                                                                                     4 $ b /RJRXW
        

                                                                                                                                                                          'LVFODLPHU b
        

        7KHIROORZLQJOLVWPLJKWFRQWDLQUHFRUGVRIGL΍HUHQWSHRSOHFRPSDQLHVbZLWKWKHVDPHQDPHDQGLWPD\QRWFRQWDLQUHFRUGVRIWKH
        SHUVRQHQWLW\IRUZKRP\RXDUHVHDUFKLQJ

        
        5HVXOWRITXHU\RQ0RQGD\$XJXVW$0
        /DVW1DPH6$))521
        )LUVW1DPH'$9Ζ'

        &OLFNRQWKHQDPHWRYLHZWKHFDVHQXPEHUDQGDVXPPDU\RIWKHFDVH
        b
        7RDYRLGDQ\SUREOHPV'21275()5(6+255(/2$'WKLVSDJH

        b
                                                                                   bbbbbb b1H[W
        b                                                                                                                                                                1HZ6HDUFK
                                                                                   7RWDO3DJHV
        b

                                                                                                                                                                     $YDLODEOH
                        1DPH                                          &DVH7\SH                                   )LOLQJ'DWH             /RFDWLRQ                  ΖPDJHG
                                                                                                                                                                     'RFXPHQWV

                        6$))521'$9Ζ'                                 8'5(6Ζ'(17Ζ$/ /LPLWHG                                 9DQ1X\V
                                                                                                                                           &RXUWKRXVH
                                                                                                                                           :HVW

                        6$))521'$9Ζ'                                 27+(5&203/$Ζ1727+(5                                   9DQ1X\V
                                                                       /LPLWHG                                                             &RXUWKRXVH
                                                                                                                                           :HVW

                        6$))521'$9Ζ'                                 6PDOO&ODLPV /LPLWHG                                     9DQ1X\V
                                                                                                                                           &RXUWKRXVH
                                                                                                                                           :HVW

                        6$))521'$9Ζ'                                 8'&200(5&Ζ$/ /LPLWHG                                  6WDQOH\0RVN
                                                                                                                                           &RXUWKRXVH

                        6$))521'$9Ζ'                                 6PDOO&ODLPV /LPLWHG                                     9DQ1X\V
                                                                                                                                           &RXUWKRXVH
                                                                                                                                           :HVW

                        6$))521'$9Ζ'                                 6PDOO&ODLPV /LPLWHG                                     6WDQOH\0RVN
                                                                                                                                           &RXUWKRXVH

                        6$))521'$9Ζ'                                 6PDOO&ODLPV                                              :HVW/RV
                                                                                                                                           $QJHOHV
                                                                                                                                           &RXUWKRXVH



KWWSVZZZODFRXUWRUJSDRQOLQHVHUYLFHVFLYLO,QGH[FLVHDUFK%\1DPH5HVXOWDVS[                                                                                                                    
Case    2:18-cv-02503-FMO-JC 6HDUFKIRU&DVH1XPEHUE\1DPH2QOLQH6HUYLFHV/$&RXUW
                                        Document 106 Filed 10/16/19 Page 122 of 295 Page ID
                  6$))521'$9Ζ'      6PDOO&ODLPV     #:3275               :HVW/RV
                                                                                                     $QJHOHV
                                                                                                     &RXUWKRXVH

                   6$))521'$9Ζ'                    &LYLO /LPLWHG                        1RUZDON
                                                                                                     &RXUWKRXVH

                  6$))521'$9Ζ'                    6PDOO&ODLPV /LPLWHG                 ΖQJOHZRRG
                                                                                                     &RXUWKRXVH

                  6$))521'$9Ζ'                    6PDOO&ODLPV                          :HVW/RV
                                                                                                     $QJHOHV
                                                                                                     &RXUWKRXVH

                  6$))521'$9Ζ'                    6PDOO&ODLPV                          :HVW/RV
                                                                                                     $QJHOHV
                                                                                                     &RXUWKRXVH

                  6$))521'$9Ζ'                    6PDOO&ODLPV /LPLWHG                 *OHQGDOH
                                                                                                     &RXUWKRXVH

                  6$))521'$9Ζ'                    8'5(6Ζ'(17$Ζ/81/$:)8/           6WDQOH\0RVN
                                                     '(7$Ζ1(5 /LPLWHG                               &RXUWKRXVH

                  6$))521'$9Ζ'                    8'5(6Ζ'(17$Ζ/81/$:)8/           6WDQOH\0RVN
                                                     '(7$Ζ1(5 /LPLWHG                               &RXUWKRXVH

                  6$))521'$9Ζ'                    6PDOO&ODLPV                          6WDQOH\0RVN
                                                                                                     &RXUWKRXVH

                  6$))521'$9Ζ'                    2WKHU3URPLVVRU\                      6WDQOH\0RVN
                                                     1RWH&ROOHFWLRQV 8QOLPLWHG                     &RXUWKRXVH

                  6$))521'$9Ζ'                    &RPPUFLDO&RPSO1RW7RUWRU           6WDQOH\0RVN
                                                     &RPSO[ 8QOLPLWHG                               &RXUWKRXVH

                  6$))521'$9Ζ'                    2WKU%UHDFK&RQWU:DUUQRW            6WDQOH\0RVN
                                                     )UDXG 8QOLPLWHG                                &RXUWKRXVH

                  6$))521'$9Ζ'                    2WKHU3URPLVVRU\                      6WDQOH\0RVN
                                                     1RWH&ROOHFWLRQV 8QOLPLWHG                     &RXUWKRXVH

                  6$))521'$9Ζ'                    )UDXG QRFRQWUDFW  8QOLPLWHG        6WDQOH\0RVN
                                                                                                     &RXUWKRXVH

                  6$))521'$9Ζ'                    2WKHU&RPPHUFLDO%XVLQHVV             6WDQOH\0RVN
                                                     7RUW 8QOLPLWHG                                 &RXUWKRXVH

                  6$))521'$9Ζ'                    %UHDFK5HQWDO/HDVH QRW              6WDQOH\0RVN     
                                                     8'(YLFW  8QOLPLWHG                            &RXUWKRXVH

                  6$))521'$9Ζ'                    %UHDFK&RQWUFW:DUQW\ 6HOOU          6WDQOH\0RVN     
                                                     3OWI  8QOLPLWHG                                &RXUWKRXVH

                  6$))521'$9Ζ'                    7UXVW                                 6WDQOH\0RVN
                                                                                                     &RXUWKRXVH

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        b                                                        bbbbbb b1H[W                                    1HZ6HDUFK
                                                                             
                                                                      3ULQWWKLVSDJH
        
        




                                   $UW6KRZFDVHGLQ
                          /RV$QJHOHV&RXUWKRXVH-XU\5RRPV




KWWSVZZZODFRXUWRUJSDRQOLQHVHUYLFHVFLYLO,QGH[FLVHDUFK%\1DPH5HVXOWDVS[                                                    
Case    2:18-cv-02503-FMO-JC Document 106/$6&&DVH$FFHVV
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     &$6(,1)250$7,21

     &DVH,QIRUPDWLRQ_5HJLVWHU2I$FWLRQV_)8785(+($5,1*6_3$57<,1)250$7,21_'RFXPHQWV)LOHG_3URFHHGLQJV+HOG
     

     &DVH1XPEHU6&
                           
     129,$1 129,$1//396'$9,'6$))521(7$/

     )LOLQJ&RXUWKRXVH6DQWD0RQLFD&RXUWKRXVH

     )LOLQJ'DWH
                             
     &DVH7\SH&ROOHFWLRQV&DVH6HOOHU3ODLQWLII *HQHUDO-XULVGLFWLRQ
     6WDWXV'HIDXOW-XGJPHQW3XUVXDQWWR'HFO              
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     )8785(+($5,1*6

     &DVH,QIRUPDWLRQ_5HJLVWHU2I$FWLRQV_)8785(+($5,1*6_3$57<,1)250$7,21_'RFXPHQWV)LOHG_3URFHHGLQJV+HOG
     
     1RQH
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     3$57<,1)250$7,21

     &DVH,QIRUPDWLRQ_5HJLVWHU2I$FWLRQV_)8785(+($5,1*6_3$57<,1)250$7,21_'RFXPHQWV)LOHG_3URFHHGLQJV+HOG
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     .$*(/'$9,''HIHQGDQW

     129,$1 129,$1//33ODLQWLII

     129,$1)$5+$'$WWRUQH\IRU3ODLQWLII

     6$))521'$9,''HIHQGDQW

     6$))521'$9,'*'HIW V$.$

     6$))521'$9,'0'HIW V$.$

     7+(%52.(1'225//&'HIHQGDQW

     7+('$9,'*6$))52163(1'7+5,)775867'HIHQGDQW

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     'RFXPHQWV)LOHG

     &DVH,QIRUPDWLRQ_5HJLVWHU2I$FWLRQV_)8785(+($5,1*6_3$57<,1)250$7,21_'RFXPHQWV)LOHG_3URFHHGLQJV+HOG
     
     'RFXPHQWV)LOHG )LOLQJGDWHVOLVWHGLQGHVFHQGLQJRUGHU

     $EVWUDFWRI-XGJPHQW,VVXHG $%675$&7,668('$1'0$,/(',16$6(
     )LOHGE\$WWRUQH\IRU3ODLQWLII                                             

     $EVWUDFWRI-XGJPHQW,VVXHG $%675$&7,668('$1'3/$&(',1$77<)2/'(5)25-$11(<
     )LOHGE\$WWRUQH\IRU3ODLQWLII                                                               

     -XGJPHQW %<'()$8/7
     )LOHGE\$WWRUQH\IRU3ODLQWLII   


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Case   2:18-cv-02503-FMO-JC Document 106                 /$6&&DVH$FFHVV
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     5HTXHVWIRU'LVPLVVDO3DUWLDO $6727+(%52.(1'225//&$1''2(67+528*+
     )LOHGE\$WWRUQH\IRU3ODLQWLII                                                                   

     5HTXHVWWR(QWHU-XGJPHQW
     )LOHGE\$WWRUQH\IRU3ODLQWLII     

     6WDWHPHQW*HQHUDO
     )LOHGE\$WWRUQH\IRU3ODLQWLII 

     'HFODUDWLRQ '(&/$5$7,212))$5+$'129,$1,168332572)5(48(67)25(175<2)-8'*0(17
     $)7(5'()$8/7
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     )LOHGE\$WWRUQH\IRU3ODLQWLII

     5HTXHVWIRU(QWU\RI'HIDXOW $672'$9,'.$*(/$675867((2)7+('$9,'*6$))52163(1'7+5,)
     758675(&(,9('
                           
     )LOHGE\$WWRUQH\IRU3ODLQWLII

     'HIDXOW(QWHUHG $672'$9,'.$*(/$675867((2)7+('$9,'*6$))52163(1'7+5,)775867
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     )LOHGE\$WWRUQH\IRU3ODLQWLII                                                     

     3URRIRI3XEOLFDWLRQ
     )LOHGE\$WWRUQH\IRU3ODLQWLII 

     6WDWHPHQW&DVH0DQDJHPHQW
     )LOHGE\$WWRUQH\IRU3ODLQWLII     

     2UGHUIRU3XEOLFDWLRQ
     )LOHGE\$WWRUQH\IRU3ODLQWLII 

     5HTIRU6HUYLFH3XEOLFDWLRQ
     )LOHGE\$WWRUQH\IRU3ODLQWLII       

     3URRI6HUYLFH6XPPRQV
     )LOHGE\$WWRUQH\IRU3ODLQWLII 

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     )LOHGE\$WWRUQH\IRU3ODLQWLII 

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     )LOHGE\$WWRUQH\IRU3ODLQWLII                  

     )LUVW$PHQGHG&RPSODLQW 6800216,668('
     )LOHGE\$WWRUQH\IRU3ODLQWLII                     

     )LUVW$PHQGHG&RPSODLQW
     )LOHGE\$WWRUQH\IRU3ODLQWLII   

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     )LOHGE\$WWRUQH\IRU3ODLQWLII                  

     6XPPRQV)LOHG
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     )LOHGE\$WWRUQH\IRU3ODLQWLII

     &RPSODLQW)LOHG
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     3URFHHGLQJV+HOG

     &DVH,QIRUPDWLRQ_5HJLVWHU2I$FWLRQV_)8785(+($5,1*6_3$57<,1)250$7,21_'RFXPHQWV)LOHG_3URFHHGLQJV+HOG
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     3URFHHGLQJV+HOG 3URFHHGLQJGDWHVOLVWHGLQGHVFHQGLQJRUGHU
KWWSVZZZODFRXUWRUJFDVHVXPPDU\XL26&DVHVXPPDU\DVS[                                                                
Case    2:18-cv-02503-FMO-JC Document 106                     /$6&&DVH$FFHVV
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     DWDPLQ'HSDUWPHQW:(00LWFKHOO/%HFNORII3UHVLGLQJ
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     26&)DLOXUHWR)LOH'LVPRU-XGJ 5(-8'*0(17 $GYDQFHGWRWKLVGDWH 9DFDWHG

     DWDPLQ'HSDUWPHQW:(00LWFKHOO/%HFNORII3UHVLGLQJ
     -XGJPHQW(QWHUHG                                                       

     DWDPLQ'HSDUWPHQW:(00LWFKHOO/%HFNORII3UHVLGLQJ
     26&)DLOXUHWR)LOH'LVPRU-XGJ $672'()$8/7$1''()$8/7-8'*0(17    26&KHOG FRQWLQXHG

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    /ĂŵƚŚĞĂƩŽƌŶĞǇĨŽƌZƵŶǁĂǇ͕ĮƌƐƚŽĨĂůů͕ƚŚŝƐĐŽŵƉůĂŝŶƚŝƐĨƵůůŽĨĨƌĂƵĚƵůĞŶƚƐƚĂƚĞŵĞŶƚƐǁŚŝĐŚĂƌĞŵĞĂŶƚƚŽŵŝƐůĞĂĚ
    ƉƉůĞ͘DƌƐ͘ĞŐƌĂǇŝƐĂĨŽƌŵĞƌůŝĐĞŶƐŽƌŽĨƚŚĞ͞ZhEtz͟ŵĂƌŬ͘DƐ͘ĞŐƌĂǇΖƐĐůĂŝŵƚŚĂƚƚŚĞh^WdKĮůĞĚĂĐĞĂƐĞĂŶĚ
    ĚĞƐŝƐƚĂŶĚŚĞƌĐůĂŝŵƐŽĨĮƌƐƚƵƐĞĂĨĂĐƚƵĂůůǇĨĂůƐĞ͘tĞŚĂǀĞĂƩĂĐŚĞĚŚĞƌĐŽŶƚƌĂĐƚĨŽƌůŝĐĞŶƐŝŶŐĂŶĚƚŚĞŵĂƌŬƐŚĞ
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    ƩĂĐŚĞĚĂŶĚůŝŶŬĞĚŚĞƌĞ͗KWWSZZZUXQZD\EHDXW\FRPGRZQORDG'H*UH\581:$<YLRODWLRQFDVH86
    6XSHULRUFRXUW]LS

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    ZhEtzŚĂƐďĞĞŶĂŶƉƉůĞEĞǁƐƐƚĂŶĚƉƵďůŝƐŚĞƌƐŝŶĐĞϮϬϭϭǁŝƚŚŽƵƌZhEtzh^ĂƉƉƉĂƌƚŶĞƌĞĚǁŝƚŚzƵĚƵ͘tĞ
    ŚĂǀĞĚŽŶĞďƵƐŝŶĞƐƐǁŝƚŚǇŽƵǁĞůůďĞĨŽƌĞDƌƐ͘ĞŐƌĂǇƚŚŽƵŐŚƚŽĨĚŽŝŶŐĂŶǇŵĂŐĂǌŝŶĞ͘^ŚĞŝƐƵƐŝŶŐƉƉůĞƚŽĐƌĞĂƚĞ
    ůĞŐĂůĨĞĞƐĨŽƌZhEtzds>>͘

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    &ŝƌƐƚŽĨĂůůƚŚĞh^WdKĚŽĞƐŶŽƚƐĞŶĚĐĞĂƐĞĂŶĚĚĞƐŝƐƚ͘dŚŝƐŝƐĂĨĂůƐĞƐƚĂƚĞŵĞŶƚ͘DƐ͘ĞŐƌĞǇůŝĐĞŶƐĞĚƚŚĞŶĂŵĞ͕ĚŝĚŶŽƚ
    ƉĂǇƚŚĞďŝůůĂŶĚŚĂƐƐĞŶƚĨƌĂƵĚƵůĞŶƚĞŵĂŝůƐƚŽĐĂƵƐĞĐŽŶĨƵƐŝŽŶƚŽŬĞĞƉĨƌŽŵƉĂǇŝŶŐƐƵĐŚďŝůů͘

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    dŚĞƐƚĂƚĞŵĞŶƚ͞KǁŶĞƌŽĨƚŚĞƐĞĂƉƉƐŚĂƐŚŝƐƚƌĂĚĞŵĂƌŬZƵŶǁĂǇŽƉƉŽƐĞĚĂŶĚďĂŶŶĞĚĨƌŽŵƵƌŽƉĞ͘͟ŝƐĂůƐŽĂĨĂůƐĞ
    ƐƚĂƚĞŵĞŶƚ͘dŚĞt/WKŝŶƋƵĞƐƟŽŶǁĂƐůŽƐƚŝŶĂůĂǁƐƵŝƚĂŶĚƌĞĐůĂŝŵĞĚǁŚĞŶŝŶĞĐĞŵďĞƌƚŚĞĐŽŵƉĂŶǇŽǁŶŝŶŐŝƚ
    ĚĞĨĂƵůƚĞĚĂŶĚŝƚƌĞǀĞƌƚĞĚďĂĐŬƚŽZhEtzds>>͘dŚŝƐƉƌŽĐĞƐƐǁŝůůƚĂŬĞĂƌŽƵŶĚϭϴŵŽŶƚŚƐ͕ďƵƚƚŚĞƉƌĞͲĚĂƚĞŽŶƚŚĞ
    ƌĞŐŝƐƚƌĂƟŽŶĨĂƌƉƌĞͲĚĂƚĞƐĂŶǇĨĂůƐĞƚƌĂĚĞŵĂƌŬDƌƐ͘ĞŐƌĂǇĮůĞĚ͘ŝƚŚĞƌǁĂǇDƐ͘ĞŐƌĂǇƐŝŐŶĞĚĂŶĂŐƌĞĞŵĞŶƚŶŽƚƚŽ
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    Dƌ͘:ĂŵĞƐƵĐĐĞůůŝŽĨƚŚĂƚĐŽŵƉĂŶǇǁŚŝĐŚǁĞƐĞƩůĞĚǁŝƚŚŝƐĐƵƌƌĞŶƚůǇŝŶƉƌŝƐŽŶĨŽƌŝĚĞŶƟƚǇƚŚĞŌ͕ƌĞƉŽƌƟŶŐĨĂůƐĞ
    ŶƵŵďĞƌƐƚŽƉĂǇŝŶŐĂĚǀĞƌƟƐĞƌƐĂŶĚĐůĂŝŵŝŶŐƚŽďĞĂŶĂĐĐƌĞĚŝƚĞĚŶĞǁƐĂŐĞŶĐǇ͘tŚŝĐŚŵĂŬĞƐƚŚĞŵĂƌŬŽƌŝŐŝŶĂůůǇĮůĞĚ
    ďǇŵǇĐůŝĞŶƚ͕ĚĞĨĂƵůƚďĂĐŬƚŽŵǇĐůŝĞŶƚ͘dŚŝƐƉƌŽĐĞƐƐŝƐŝŶƚŚĞǁŽƌŬƐ͕ďƵƚƚŚĂƚĚŽĞƐŶŽƚŐŝǀĞDƌƐ͘ĞŐƌĂǇĂŶǇŽƌĂŶǇ
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    DƌƐ͘ĞŐƌĂǇĂůƐŽŚĂƐŝƐƐƵĞƐŐŽŝŶŐĂŶĚŚĂƐĐƵƌƌĞŶƚŽƉĞŶŝŶǀĞƐƟŐĂƟŽŶƐŝŶƚŚĞh^ĨŽƌĨƌĂƵĚ͘dŚŝƐĐŽŵƉůĂŝŶƚƐĞƌǀĞƐĂƐ
    ƉƌŽŽĨƐŚĞŝƐĐŽŵŵŝƫŶŐƚŚĞƐĂŵĞĐƌŝŵĞƐĂƐDƌ͘ƵĐĐĞůůŝ͘

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KWWSVPDLOJRRJOHFRPPDLOX"LN HEIIFDHD YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$«   
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    ZhEtzŵĂŐĂǌŝŶĞŚĂƐďĞĞŶŽŶƐĂůĞŝŶƚŚĞh^ĂŶĚŽŶEĞǁƐƐƚĂŶĚǁŽƌůĚǁŝĚĞƐŝŶĐĞϮϬϬϮďǇ<ĂďůĞŝƐƚƌŝďƵƟŽŶĂŶĚ
    ZhEtz͘tĞŚŽůĚƚŚĞƚƌĂĚĞŵĂƌŬ͞ZhEtz͟ĂŶĚ͞ZhEtzDĂŐĂǌŝŶĞ͟ĂŶĚǁĞǁĞƌĞƚŚĞĮƌƐƚƚŽĮůĞƚŚĞƐĞƚƌĂĚĞŵĂƌŬƐ
    ǁŝƚŚŶŽƚŽŶůǇƚŚĞh^WdK͘ŐŽǀĂŶĚt/WK͘DƌƐ͘ĞŐƌĂǇůŝĐĞŶƐĞĚƚŚĞƵƐĞŽĨƚŚĞŶĂŵĞŝŶϮϬϭϱĨŽƌŽŶĞ;ϭͿƵƐĞŽŶůǇ͘^ŚĞ
    ƐŝŐŶĞĚĂĐŽŶƚƌĂĐƚƐƚĂƟŶŐƐŚĞǁŽƵůĚŽŶůǇƵƐĞŝƚŽŶĐĞĂŶĚƐŚĞĞǆƟŶŐƵŝƐŚĞĚƚŚĞƌŝŐŚƚƚŽĮůĞĂŶǇƚƌĂĚĞŵĂƌŬŝŶĂŶǇ
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    ƵĂůŝƚǇ͗ŝƚŝƐŶŽƚŶĞĐĞƐƐĂƌǇĨŽƌŵǇĐůŝĞŶƚƚŽŚĂǀĞďŽƚŚdƌĂĚĞŵĂƌŬƐ͞ZhEtz͟ĂŶĚ͞ZhEtzD'/E͕͟ŝƚŝƐ
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    WůĞĂƐĞƐĞĞƚŚĞĨŽůůŽǁŝŶŐƉĂƌĂŐƌĂƉŚŝŶƚŚĞĂƩĂĐŚĞĚ͕ƐŚŽƌƚͲƚĞƌŵĂŐƌĞĞŵĞŶƚǁŝƚŚDƌ͘ĞŐƌĂǇ͘

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    ƉĞƌŵŝƚĂŶǇƚŚŝŶŐƚŽďĞĚŽŶĞǁŚŝĐŚǁŽƵůĚĚŝƐƉƵƚĞŽƌĐŽŶƚƌĂǀĞŶĞ>ŝĐĞŶƐŽƌ͛ƐŽǁŶĞƌƐŚŝƉŽĨ͕ŽƌŝŵƉĂŝƌĂŶǇƌŝŐŚƚ͕ƟƚůĞŽƌ
    ŝŶƚĞƌĞƐƚŽĨ>ŝĐĞŶƐŽƌŝŶŽƌƚŽƚŚĞdƌĂĚĞŵĂƌŬƐ͘>ŝĐĞŶƐĞĞŝƐĂůƐŽŶŽƚƉĞƌŵŝƩĞĚƚŽĮůĞĂŶǇƚƌĂĚĞŵĂƌŬƐǁŝƚŚƚŚĞǁŽƌĚ
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    ƵƌŝŶŐƚŚĞdĞƌŵŽĨƚŚŝƐŐƌĞĞŵĞŶƚĂŶĚƚŚĞƌĞĂŌĞƌ͕>ŝĐĞŶƐĞĞƐŚĂůůŶĞŝƚŚĞƌĚŽŶŽƌĨĂŝůƚŽĚŽĂŶǇĂĐƚŽƌǁƌŝƟŶŐǁŚŝĐŚŝƐ
    ŶĞĐĞƐƐĂƌǇƚŽĨƵƌƚŚĞƌĞŶƐƵƌĞ>ŝĐĞŶƐŽƌ͛ƐĞǆĐůƵƐŝǀĞƌŝŐŚƚĂŶĚƟƚůĞŝŶƚŚĞdƌĂĚĞŵĂƌŬƐ͕DĂƚĞƌŝĂů͕ĂŶĚ<ŶŽǁͲ,Žǁ͘

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    EĞǆƚ͕ƚŚĞǁŽƌĚŵĂŐĂǌŝŶĞŝƐĂŶŽŶͲƚƌĂĚĞŵĂƌŬĂďůĞǁŽƌĚ͘EK>/D/^DdKd,y>h^/sZ/',ddKh^
    ΗD'/EΗWZd&ZKDd,DZ<^^,KtEŽŶĂŶǇƚƌĂĚĞŵĂƌŬ͘DƌƐ͘ĞŐƌĞǇĚŽĞƐŶŽƚŚĂǀĞƚŚĞƌŝŐŚƚƚŽƌĞŐƵůĂƚĞ
    ŽƌĮůĞĂĐŽŵƉůĂŝŶƚďĂƐĞĚŽŶƚŚŝƐƚĞƌŵ͘

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    dŚŝƐĐŽŵƉůĂŝŶƚƵƐĞƐƉƉůĞƚŽĐƌĞĂƚĞůĞŐĂůĐŽƐƚƐĨŽƌZhEtzds>>͘DƌƐ͘ĞŐƌĂǇŚĂƐǇĞƚƚŽĂŶƐǁĞƌŚĞƌĐŽŵƉůĂŝŶƚŝŶ
    ƚŚĞh^ĨŽƌƚƌĂĚĞŵĂƌŬůŝĐĞŶƐĞĨƌĂƵĚ͘

    tĞŚĂǀĞƐĞƌǀĞĚŚĞƌŵĂŶǇŶŽƟĐĞƐƚŚĂƚƐŚĞŝƐƌĞƋƵŝƌĞĚƚŽƐŚŽǁŝŶh^ĐŽƵƌƚƚŽĚŝƐƵƐĞƚŚĞŵĂƩĞƌŝŶĨƌŽŶƚŽĨĂũƵĚŐĞ͘

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    tĞĂƐŬƚŚĂƚDƌƐ͘ĞŐƌĂǇďĞŶŽƚĞĚͬŇĂŐŐĞĚĂƐĨƌĂƵĚŝŶǇŽƵƌƐǇƐƚĞŵ͕ŶŽĨƵƌƚŚĞƌĐŽŵƉůĂŝŶƚƚŽďĞƚĂŬĞŶĨƌŽŵŚĞƌŝŶƚŚĞ
    ĨƵƚƵƌĞĂŶĚĨŽƌƉƉůĞƚŽŶĞǀĞƌĂůůŽǁŚĞƌĂŶǇƉƵďůŝƐŚŝŶŐƌŝŐŚƚƐ͘dŚŝƐĚŽĐƵŵĞŶƚǁŝůůďĞƉƌĞƐĞŶƚĞĚƚŽƚŚĞh^ŽƵƌƚʹ
    ĂůŝĨŽƌŶŝĂĂƐƉƌŽŽĨŽĨĚĂŵĂŐĞƐŝŶĐƵƌƌĞĚĂŶĚĐŽŶĨƵƐŝŽŶ͘

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    ZƵŶǁĂǇDĂŐĂǌŝŶĞͬZƵŶǁĂǇdĞůĞǀŝƐŝŽŶĂƌĞƉƌŽƚĞĐƚĞĚďǇƚŚĞhŶŝƚĞĚ^ƚĂƚĞƐWĂƚĞŶƚĂŶĚdƌĂĚĞŵĂƌŬKĸĐĞƵŶĚĞƌh^
    KdŝƚůĞϭϱ͘

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    /ŶƌĞůĂƟŽŶƚŽ͗
KWWSVPDLOJRRJOHFRPPDLOX"LN HEIIFDHD YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$«   
Case                 *PDLO5H7UDGHPDUN1RWLILFDWLRQIURP*RRJOH3OD\1RWLFHRI/DZVXLWILOHG581:$<86
                 2:18-cv-02503-FMO-JC         Document 106 Filed 10/16/19 Page 191 of 295 Page ID
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    ;ϭͿŶǇƉĞƌƐŽŶǁŚŽ͕ŽŶŽƌŝŶĐŽŶŶĞĐƟŽŶǁŝƚŚĂŶǇŐŽŽĚƐŽƌƐĞƌǀŝĐĞƐ͕ŽƌĂŶǇĐŽŶƚĂŝŶĞƌĨŽƌŐŽŽĚƐ͕ƵƐĞƐŝŶĐŽŵŵĞƌĐĞ
    ĂŶǇǁŽƌĚ͕ƚĞƌŵ͕ŶĂŵĞ͕ƐǇŵďŽů͕ŽƌĚĞǀŝĐĞ͕ŽƌĂŶǇĐŽŵďŝŶĂƟŽŶƚŚĞƌĞŽĨ͕ŽƌĂŶǇĨĂůƐĞĚĞƐŝŐŶĂƟŽŶŽĨŽƌŝŐŝŶ͕ĨĂůƐĞŽƌ
    ŵŝƐůĞĂĚŝŶŐĚĞƐĐƌŝƉƟŽŶŽĨĨĂĐƚ͕ŽƌĨĂůƐĞŽƌŵŝƐůĞĂĚŝŶŐƌĞƉƌĞƐĞŶƚĂƟŽŶŽĨĨĂĐƚ͕ǁŚŝĐŚͶ

    ;ͿŝƐůŝŬĞůǇƚŽĐĂƵƐĞĐŽŶĨƵƐŝŽŶ͕ŽƌƚŽĐĂƵƐĞŵŝƐƚĂŬĞ͕ŽƌƚŽĚĞĐĞŝǀĞĂƐƚŽƚŚĞĂĸůŝĂƟŽŶ͕ĐŽŶŶĞĐƟŽŶ͕ŽƌĂƐƐŽĐŝĂƟŽŶŽĨ
    ƐƵĐŚƉĞƌƐŽŶǁŝƚŚĂŶŽƚŚĞƌƉĞƌƐŽŶ͕ŽƌĂƐƚŽƚŚĞŽƌŝŐŝŶ͕ƐƉŽŶƐŽƌƐŚŝƉ͕ŽƌĂƉƉƌŽǀĂůŽĨŚŝƐŽƌŚĞƌŐŽŽĚƐ͕ƐĞƌǀŝĐĞƐ͕Žƌ
    ĐŽŵŵĞƌĐŝĂůĂĐƟǀŝƟĞƐďǇĂŶŽƚŚĞƌƉĞƌƐŽŶ͕Žƌ

    ;ͿŝŶĐŽŵŵĞƌĐŝĂůĂĚǀĞƌƟƐŝŶŐŽƌƉƌŽŵŽƟŽŶ͕ŵŝƐƌĞƉƌĞƐĞŶƚƐƚŚĞŶĂƚƵƌĞ͕ĐŚĂƌĂĐƚĞƌŝƐƟĐƐ͕ƋƵĂůŝƟĞƐ͕ŽƌŐĞŽŐƌĂƉŚŝĐŽƌŝŐŝŶ
    ŽĨŚŝƐŽƌŚĞƌŽƌĂŶŽƚŚĞƌƉĞƌƐŽŶ͛ƐŐŽŽĚƐ͕ƐĞƌǀŝĐĞƐ͕ŽƌĐŽŵŵĞƌĐŝĂůĂĐƟǀŝƟĞƐ͕ƐŚĂůůďĞůŝĂďůĞŝŶĂĐŝǀŝůĂĐƟŽŶďǇĂŶǇƉĞƌƐŽŶ
    ǁŚŽďĞůŝĞǀĞƐƚŚĂƚŚĞŽƌƐŚĞŝƐŽƌŝƐůŝŬĞůǇƚŽďĞĚĂŵĂŐĞĚďǇƐƵĐŚĂĐƚ͘

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    h^^ĞƌŝĂůEƵŵďĞƌƐĂƌĞĂŶĚŝŶĐůƵĚĞƵƐŝŶŐƚŚĞƚĞƌŵƐŝŶƐǇŶĐŽƌƐĞƉĂƌĂƚĞĚǁŝƚŚŽƚŚĞƌǁŽƌĚƐ͘

    ǆĂŵƉůĞ͗ZƵŶǁĂǇ͕ďĞŝŶŐƉƌĞƐĞŶƚĞĚĂƐĂĨĂƐŚŝŽŶŽƌďĞĂƵƚǇŵĂŐĂǌŝŶĞ

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    ͞ZƵŶǁĂǇ͟͗ƐƐηϴϱϯϭϳϲϭϱh^WdK͘ŐŽǀ

    ͞ZƵŶǁĂǇĞĂƵƚǇ͟ʹƐƐηϳϳϱϯϲϬϴϭh^WdK͘ŐŽǀ

    ͞ZƵŶǁĂǇdĞůĞǀŝƐŝŽŶ͟ͲƐƐηϳϳϴϰϵϬϴϴh^WdK͘ŐŽǀ

    ͞ZƵŶǁĂǇDĂŐĂǌŝŶĞ͟ʹtŽƌůĚ/ŶƚĞůůĞĐƚƵĂůWƌŽƉĞƌƚǇKƌŐĂŶŝǌĂƟŽŶ͗t/WKϭϬϱϴϮϬϵ

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    /ƐǁĞĂƌ͕ƵŶĚĞƌƉĞŶĂůƚǇŽĨƉĞƌũƵƌǇĐŽŶƐŝƐƚĞŶƚǁŝƚŚh͘^͘ŽĚĞdŝƚůĞϭϳ͕^ĞĐƟŽŶϱϭϮ͕ƚŚĂƚƚŚĞŝŶĨŽƌŵĂƟŽŶŝŶƚŚĞ
    ŶŽƟĮĐĂƟŽŶŝƐĂĐĐƵƌĂƚĞĂŶĚƚŚĂƚ/ĂŵƚŚĞĐŽƉǇƌŝŐŚƚŽǁŶĞƌŽƌĂŵĂƵƚŚŽƌŝǌĞĚƚŽĂĐƚŽŶďĞŚĂůĨŽĨƚŚĞŽǁŶĞƌŽĨĂŶ
    ĞǆĐůƵƐŝǀĞƌŝŐŚƚ

    ƚŚĂƚŝƐĂůůĞŐĞĚůǇŝŶĨƌŝŶŐĞĚ͘

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    sŝŶĐĞŶƚDĂǌǌŽƩĂ

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    ZƵŶǁĂǇĞĂƵƚǇ/ŶĐ͕͕ZhEtzds>>ʹZƵŶǁĂǇDĞĚŝĂ'ƌŽƵƉtŽƌůĚǁŝĚĞ

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    ZĞƉƌĞƐĞŶƚĞĚďǇ͗

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KWWSVPDLOJRRJOHFRPPDLOX"LN HEIIFDHD YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$«   
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              2:18-cv-02503-FMO-JC            Document 106 Filed 10/16/19 Page 192 of 295 Page ID
    0HQGHO([SHULPHQWV             #:3345
    )RUPVXSSRUWFRQWHQWYLVLWLG


     DWWDFKPHQWV




                                 UXQZD\WUDGHPDUNUHFRUGXVSWRGRWJRY>@MSJ
                                 .




         )5$1&(6+2577(50$JUHHPHQW>@SGI
         .
         581:$<WUDGHPDUNSDSHU>@SGI
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KWWSVPDLOJRRJOHFRPPDLOX"LN HEIIFDHD YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$«   
Case 2:18-cv-02503-FMO-JC Document 106 Filed 10/16/19 Page 193 of 295 Page ID
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                                   #:3347



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Case                             :,32'RPDLQ1DPH'HFLVLRQ'
                  2:18-cv-02503-FMO-JC Document  106 Filed 10/16/19 Page 195 of 295 Page ID
                                                #:3348




                            :,32$UELWUDWLRQDQG0HGLDWLRQ&HQWHU


                                                   $'0,1,675$7,9(3$1(/'(&,6,21
                                                5XQZD\%HDXW\,QFY(UURO=+HUQDQGH]
                                                             &DVH1R'


  7KH3DUWLHV

  7KH&RPSODLQDQWLV5XQZD\%HDXW\,QF$UL]RQD8QLWHG6WDWHVRI$PHULFDDFWLQJSURVH

  7KH5HVSRQGHQWLV(UURO=+HUQDQGH]7RURQWR&DQDGDDFWLQJSURVH



  7KH'RPDLQ1DPHVDQG5HJLVWUDU

  7KHGLVSXWHGGRPDLQQDPHVUXQZD\PDJD]LQHFRP!UXQZD\PDJD]LQHQHW!DQGUXQZD\PDJD]LQHRUJ!DUHUHJLVWHUHGZLWK1HWZRUN
  6ROXWLRQV//&



  3URFHGXUDO+LVWRU\

  7KH&RPSODLQWZDVILOHGZLWKWKH:,32$UELWUDWLRQDQG0HGLDWLRQ&HQWHU WKH³&HQWHU´ RQ-XQH2Q-XQHWKH
  &HQWHUWUDQVPLWWHGE\HPDLOWR1HWZRUN6ROXWLRQV//&DUHTXHVWIRUUHJLVWUDUYHULILFDWLRQLQFRQQHFWLRQZLWKWKHGLVSXWHGGRPDLQ
  QDPHV2Q-XQH1HWZRUN6ROXWLRQV//&WUDQVPLWWHGE\HPDLOWRWKH&HQWHULWVUHVSRQVHGLVFORVLQJUHJLVWUDQWDQGFRQWDFW
  LQIRUPDWLRQIRUWKHGLVSXWHGGRPDLQQDPHZKLFKGLIIHUHGIURPWKHQDPHG5HVSRQGHQWDQGFRQWDFWLQIRUPDWLRQLQWKH&RPSODLQW7KH
  &HQWHUVHQWDQHPDLOFRPPXQLFDWLRQWRWKH&RPSODLQDQWRQ-XQHSURYLGLQJWKHUHJLVWUDQWDQGFRQWDFWLQIRUPDWLRQGLVFORVHGE\
  WKH5HJLVWUDUDQGLQYLWLQJWKH&RPSODLQDQWWRVXEPLWDQDPHQGPHQWWRWKH&RPSODLQW7KH&HQWHUDOVRQRWLILHGWKH&RPSODLQDQWLQWKLV
  HPDLOWKDWWKH&RPSODLQWZDVDGPLQLVWUDWLYHO\GHILFLHQW,QUHVSRQVHWKH&RPSODLQDQWILOHGDQDPHQGPHQWWRWKH&RPSODLQWRQ-XQH
  7KH&HQWHUYHULILHGWKDWWKH&RPSODLQWWRJHWKHUZLWKWKHDPHQGPHQWWRWKH&RPSODLQWVDWLVILHGWKHIRUPDOUHTXLUHPHQWVRIWKH
  8QLIRUP'RPDLQ1DPH'LVSXWH5HVROXWLRQ3ROLF\ WKH³3ROLF\´RU³8'53´ WKH5XOHVIRU8QLIRUP'RPDLQ1DPH'LVSXWH5HVROXWLRQ
  3ROLF\ WKH³5XOHV´ DQGWKH:,326XSSOHPHQWDO5XOHVIRU8QLIRUP'RPDLQ1DPH'LVSXWH5HVROXWLRQ3ROLF\ WKH³6XSSOHPHQWDO
  5XOHV´ 

  7KH5HVSRQGHQWUHTXHVWHGDQH[WHQVLRQWRILOHDUHVSRQVHRQ-XQHSULRUWRWKH&HQWHUIRUPDOO\QRWLI\LQJWKH5HVSRQGHQWRI
  WKH&RPSODLQW7KH&RPSODLQDQWRSSRVHGWKH5HVSRQGHQW VH[WHQVLRQUHTXHVWRQ-XQH

  ,QDFFRUGDQFHZLWKWKH5XOHVSDUDJUDSKV D DQG D WKH&HQWHUIRUPDOO\QRWLILHGWKH5HVSRQGHQWRIWKH&RPSODLQWDQGWKH
  SURFHHGLQJVFRPPHQFHGRQ-XQH,QDFFRUGDQFHZLWKWKH5XOHVSDUDJUDSK D WKHGXHGDWHIRU5HVSRQVHZDV-XO\
  7KH5HVSRQVHZDVILOHGZLWKWKH&HQWHURQ-XO\DQGDVVXFKLWZDVQRWQHFHVVDU\WRGHWHUPLQHZKHWKHUDQH[WHQVLRQ
  VKRXOGEHJUDQWHGWRWKH5HVSRQGHQW

  7KH&HQWHUDSSRLQWHG-RKQ6ZLQVRQDVWKHVROHSDQHOLVWLQWKLVPDWWHURQ-XO\7KH3DQHOILQGVWKDWLWZDVSURSHUO\
  FRQVWLWXWHG7KH3DQHOKDVVXEPLWWHGWKH6WDWHPHQWRI$FFHSWDQFHDQG'HFODUDWLRQRI,PSDUWLDOLW\DQG,QGHSHQGHQFHDVUHTXLUHGE\
  WKH&HQWHUWRHQVXUHFRPSOLDQFHZLWKWKH5XOHVSDUDJUDSK

KWWSVZZZZLSRLQWDPFHQGRPDLQVGHFLVLRQVKWPOGKWPO                                                                 
Case   2:18-cv-02503-FMO-JC Document             :,32'RPDLQ1DPH'HFLVLRQ'
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                                                                 #:3349
  %RWKSDUWLHVVXEPLWWHGIXUWKHUHPDLOVWRHDFKRWKHUDQGWKH&HQWUHDIWHUWKHVXEPLVVLRQRIWKH5HVSRQVHRQ-XO\DQG7KH
  3DQHOKDVGHFLGHGWRDFFHSWWKHVHHPDLOVDV6XSSOHPHQWDO)LOLQJV



  )DFWXDO%DFNJURXQG

  7KHGLVSXWHGGRPDLQQDPHUXQZD\PDJD]LQHFRP!ZDVUHJLVWHUHGE\WKH5HVSRQGHQWRQ0DUFKZKLOHWKHRWKHUWZRGLVSXWHG
  GRPDLQQDPHVUXQZD\PDJD]LQHRUJ!DQGUXQZD\PDJD]LQHQHW!ZHUHUHJLVWHUHGRQ$SULO

  7KHZHEVLWHVRSHUDWLQJIURPDOOGLVSXWHGGRPDLQQDPHVDUHDOPRVWLGHQWLFDO$WWKHWRSRIHDFKSDJHLVDKHDGHU
  ³ZZZUXQZD\PDJD]LQHRUJ>RURWKHUGLVSXWHGGRPDLQQDPH@LVDPLQLZHESRUWDOOHDGLQJWRZZZUXQZD\YLVWDFRP´7KHUHLVDOVRWKH
  IROORZLQJGLVFODLPHUDWWKHIRRWHURIHDFKZHEVLWH

  ³$OOEUDQGVSURGXFWVVHUYLFHVWUDGHPDUNVVHUYLFHPDUNVDQGUHJLVWHUHGWUDGHPDUNVPHQWLRQHGRQWKLVVLWHDUHWKHSURSHUW\RIWKHLU
  UHVSHFWLYHRZQHUV

  7KH'RPDLQ1DPHV5XQZD\PDJD]LQHRUJ>RURWKHUGLVSXWHGGRPDLQQDPH@DQGUXQZD\YLVWDFRPDUHQRWUHODWHGWRDQ\RWKHU
  FRPSDQ\SURGXFWRUVHUYLFHKDYLQJVLPLODUQDPHV´

  %\FOLFNLQJRQDOLQNDQ,QWHUQHWXVHUFDQWKHQEHUHGLUHFWHGWRHLWKHU

  7KH%ORJ#5XQZD\9LVWD³,W VDERXW6W\OH)DVKLRQ$UW(QWHUWDLQPHQWDQGPRUH´7KLVFRQWDLQVJHQHUDOLQIRUPDWLRQDQGVWRULHVUHODWLQJ
  WRIDVKLRQDQGEHDXW\DQGFRQWDLQVYDULRXVOLQNVWRWKLUGSDUW\ZHEVLWHV

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  7KH5XQZD\#5XQZD\9LVWD³,QWHUQHW6RFLDO1HWZRUNLQJ«VKDUH\RXUIDVKLRQVHQVH&RPLQJVRRQ´

  $FFRUGLQJWRWKH&RPSODLQDQW VZHEVLWH DW³ZZZUXQZD\PDJD]LQHXV´ WKH&RPSODLQDQWSURGXFHVDQGGLVWULEXWHVDSULQWPDJD]LQHWR
  HLJKWFRXQWULHVDURXQGWKHZRUOGLQFOXGLQJ&DQDGD0H[LFR)UDQFH(QJODQG,WDO\6SDLQDQG$XVWUDOLD7KHPDLQIRFXVRIWKH
  PDJD]LQHLVIDVKLRQEHDXW\DQGHQWHUWDLQPHQW3HRSOHFDQDOVRVXEVFULEHWRWKHPDJD]LQHRQOLQHYLDWKH&RPSODLQDQW VZHEVLWH



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  GRPDLQQDPHVDOVRSURYLGHVWKH5HVSRQGHQWZLWKWKHRSSRUWXQLW\WRSRVWIDNHQHZVVWRULHVDQGSRRUUHYLHZVZKLFKZLOOGHVWUR\WKH
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  7KH5HVSRQGHQWLVXVLQJWKHWUDGHPDUNWRUHFHLYHSURILWDQGLVFDXVLQJKDUPWRWKHUHSXWDWLRQRIWKHPDJD]LQH7KH5HVSRQGHQWLV
  XVLQJWKH&RPSODLQDQW VQDPHDQGXVLQJLWWRUHGLUHFWWRRWKHUVLWHVLQDQDWWHPSWWRPDNHPRQH\

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  7KH5HVSRQGHQW VZHEVLWHVGHPRQVWUDWHWKDWWKH5HVSRQGHQWKDVQRULJKWVRUOHJLWLPDWHLQWHUHVWV

  7KHGLVSXWHGGRPDLQQDPHVZHUHUHQHZHGE\WKH5HVSRQGHQWDIWHUDFHDVHDQGGHVLVWOHWWHUZDVVHQWE\WKH&RPSODLQDQWLQ
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  7KH&RPSODLQDQWLVDWWHPSWLQJWRLOOHJLWLPDWHO\DFTXLUHRZQHUVKLSRIWKHGLVSXWHGGRPDLQQDPHVEHFDXVHLWZLVKHVWRSRVLWLRQLWV
  ³5XQZD\0DJD]LQH´LQWHUQDWLRQDOO\³5XQZD\0DJD]LQH´LVDIDVKLRQIRFXVHGSXEOLFDWLRQWKDWZDVODXQFKHGLQWRLQWHUQDWLRQDOSULQW
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  SHUVSHFWLYH 7KH5HVSRQGHQWKDGQRLQWHQWLRQRIXVLQJWKHGLVSXWHGGRPDLQQDPHVLQUHODWLRQWRSULQWUHODWHGSXEOLFDWLRQ

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  5HVSRQGHQWZDVDOVRDFFXPXODWLQJWKHSHUVRQQHOVXSSRUWQHHGHGWRLPSOHPHQWWKHSURMHFWV7KHHPDLOVHUYLFHZDVODWHUUHPRYHGDVD
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  GLVSXWHGGRPDLQQDPHUXQZD\PDJD]LQHFRP!DVDQRQOLQHUHVRXUFH7KH&RPSODLQDQWKDVSURYLGHGPLVOHDGLQJLQIRUPDWLRQLQWKH
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  SLFNHGXSE\.DEOH'LVWULEXWLRQLQ2FWREHU³RQO\PRQWKVDIWHUWKHILUVWSULQWLVVXHZHQWWRFLUFXODWLRQ´7KHUHLVHYLGHQFHWKDWWKH
  SUHPLHUHLVVXHRI³5XQZD\%HDXW\0DJD]LQH´ZDVODXQFKHGLQSULQWIRUPRQ-XQHDQGWKDWLWZHQWRQVDOHDW%DUQHVDQG1REOH
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  0DJD]LQH´RU³5XQZD\0DJD]LQH´ DQGLWLVVRPHWLPHVMXVWFDOOHG³5XQZD\´ ,QLVVXHVWKHWLWOHLV³5XQZD\%HDXW\0DJD]LQH´
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   L WKHGRPDLQQDPHUHJLVWHUHGE\WKH5HVSRQGHQWLVLGHQWLFDORUFRQIXVLQJO\VLPLODUWRDWUDGHPDUNRUVHUYLFHPDUNLQZKLFKWKH
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  HYLGHQFHSUHVHQWHGVKDOOGHPRQVWUDWH\RXUULJKWVRUOHJLWLPDWHLQWHUHVWVWRWKHGRPDLQQDPHIRUSXUSRVHVRISDUDJUDSK D LL 

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  GLYHUWFRQVXPHUVRUWRWDUQLVKWKHWUDGHPDUNRUVHUYLFHPDUNDWLVVXH´

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  7KH&RPSODLQDQWKDVSXWIRUZDUGPLQLPDOHYLGHQFHRIWKH5HVSRQGHQW VODFNRIULJKWVRUOHJLWLPDWHLQWHUHVWV,QVKRUWWKH&RPSODLQDQW
  FRQWHQGVWKDWWKH5HVSRQGHQWKDVEHHQXVLQJWKHGLVSXWHGGRPDLQQDPHVIRUF\EHUVTXDWWLQJSXUSRVHVVLQFHZLWKQROHJDO
  EXVLQHVVEHLQJRSHUDWHGIURPWKHFRUUHVSRQGLQJZHEVLWHV7KH&RPSODLQDQWSRLQWVWRWKHFRQWHQWRIWKH5HVSRQGHQW VZHEVLWHVWRWU\
  DQGHVWDEOLVKODFNRIULJKWVRUOHJLWLPDWHLQWHUHVWV

  ,QUHVSRQVHWKH5HVSRQGHQWFRQWHQGVWKDWLWKDVPDGHXVHRIWKHGLVSXWHGGRPDLQQDPHV RUOHDVWSODQQHGWR SULRUWRQRWLFHRIWKLV
  GLVSXWHDQGLVPDNLQJDOHJLWLPDWHQRQFRPPHUFLDOXVHRIWKHGLVSXWHGGRPDLQQDPHVZLWKRXWLQWHQWWRPLVOHDGLQJO\GLYHUWFRQVXPHUV
  RUWDUQLVKWKH&RPSODLQDQW VWUDGHPDUN

  %\WKH5HVSRQGHQW VRZQDGPLVVLRQLWGLGQRWVWDUWDQ\EXVLQHVVIURPWKHGLVSXWHGGRPDLQQDPHVXQWLODOPRVWWHQ\HDUVDIWHULW
  ILUVWUHJLVWHUHGWKHQDPHV7KH5HVSRQGHQWFRQWHQGVWKDWZKLOHLWDOZD\VKDGSODQVWRGHYHORSWKHZHEVLWHVKHZDVFRQVWUDLQHGE\
  SHUVRQQHOUHVRXUFHVDQGVNLOOVKRUWDJHV7KH5HVSRQGHQW VSODQVVXSSRVHGO\LQYROYHGZHEVLWHVFRQWDLQLQJLQIRUPDWLRQRQIDVKLRQEXW
  DOVRZHEVLWHVUHODWLQJWRDLUSRUWUXQZD\V

  ,WZDVDOVRLQHDUO\WRPLGZKHQWKHSDUWLHVILUVWPDGHFRQWDFWDQGDGLVSXWHDURVHFRQFHUQLQJRZQHUVKLSRIWKHGLVSXWHGGRPDLQ
  QDPHV

  'XHWRWKHVLJQLILFDQWDPRXQWRIWLPHLQZKLFKWKH5HVSRQGHQWKHOGWKHGLVSXWHGGRPDLQQDPHVZLWKRXWDQ\GHYHORSPHQWWKHWLPLQJRI
  WKH&RPSODLQDQW VILOLQJRIWKH581:$<0$*$=,1(WUDGHPDUNDSSOLFDWLRQDQGWKHWLPLQJRIWKH5HVSRQGHQW VHYHQWXDOODXQFKRILWV
  ZHEVLWHVWKH3DQHOLQIHUVWKDWWKH5HVSRQGHQWRQO\EHJDQWRGHYHORSWKHZHEVLWHVDIWHUUHFHLYLQJQRWLFHRIDQLPSHQGLQJGLVSXWHIURP
  WKH&RPSODLQDQW2QEDODQFHEDVHGRQWKHODFNRIHYLGHQFHVXEPLWWHGE\WKH5HVSRQGHQWWKH3DQHOGRHVQRWDFFHSWWKDWWKH
  5HVSRQGHQWZDVPDNLQJDERQDILGHRIIHULQJRIJRRGVDQGVHUYLFHVLQUHODWLRQWRWKHGLVSXWHGGRPDLQQDPHVSULRUWREHLQJFRQWDFWHG
  E\WKH&RPSODLQDQW

  )XUWKHUWKH3DQHOLVQRWHQWLUHO\VDWLVILHGWKDWWKH5HVSRQGHQW VRIIHULQJRIIDVKLRQDQGEHDXW\QHZVIURPLWVZHEVLWHVZRXOGFRQVWLWXWH
  DERQDILGHRIIHULQJRIJRRGVDQGVHUYLFHV7KHDUWLFOHVFXUUHQWO\RIIHUHGRQWKH5HVSRQGHQW VZHEVLWHDSSHDUYHU\VLPLODULQQDWXUHWR
  DUWLFOHVWKDWZRXOGFRPPRQO\EHIRXQGLQDIDVKLRQPDJD]LQHVXFKDV5XQZD\0DJD]LQH$VWKLVFRQWHQWZDVODXQFKHGDURXQGWKH
  VDPHWLPHDVWKHGLVSXWHDURVHLWLVGLIILFXOWIRUWKH3DQHOWREHOLHYHWKDWWKHVLPLODULW\RIFRQWHQWLVFRLQFLGHQWDO+RZHYHUDVLWLVQRW
  QHFHVVDU\WRGHWHUPLQHWKLVLVVXHWKH3DQHOGRHVQRWPDNHDFRQFOXVLYHILQGLQJRQWKLVSRLQW

KWWSVZZZZLSRLQWDPFHQGRPDLQVGHFLVLRQVKWPOGKWPO                                                                            
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  2QWKHHYLGHQFHEHIRUHLWWKH3DQHOLVQRWZLOOLQJWRDFFHSWWKDWWKH5HVSRQGHQW VXVHRIWKHGLVSXWHGGRPDLQQDPHVIDOOVXQGHU
  SDUDJUDSK F LLL RIWKH3ROLF\:KLOHWKH5HVSRQGHQW VZHEVLWHVGRQRWFXUUHQWO\DSSHDUWREHSURILWGULYHQWKH3DQHOFDQQRWVD\ZLWK
  FHUWDLQW\WKDWWKH5HVSRQGHQWLVXVLQJWKHGRPDLQQDPHVZLWKRXWLQWHQWWRPLVOHDGLQJO\GLYHUWFXVWRPHUV7KLVLVEHFDXVHWKHFRQWHQW
  ZDVHVWDEOLVKHGDWDWLPHZKLFKLVFORVHLQSUR[LPLW\WRWKHWLPHZKHQWKH&RPSODLQDQWUDLVHGFRQFHUQVZLWKWKH5HVSRQGHQWUHJDUGLQJ
  WKHGLVSXWHGGRPDLQQDPHV

  ,QWKH3DQHO VYLHZWKHGLVFODLPHUXWLOL]HGE\WKH5HVSRQGHQWLVQRWVXIILFLHQWWRSUHYHQWFRQIXVLRQDULVLQJDPRQJVW,QWHUQHWXVHUV,WLV
  QRWDGLVFODLPHUZKLFKVSHFLILFDOO\PHQWLRQVWKH&RPSODLQDQWDQGDVWKHGLVSXWHGGRPDLQQDPHVPDWFKWKH&RPSODLQDQW VWUDGHPDUNV
  H[DFWO\DQGWKHZHEVLWHFRQWDLQVFRQWHQWVLPLODUWRWKH&RPSODLQDQW V,QWHUQHWXVHUVDUHOLNHO\WREHFRQIXVHGGHVSLWHWKHGLVFODLPHU

  $FFRUGLQJO\WKHVHFRQGHOHPHQWKDVEHHQPHW

  &5HJLVWHUHGDQG8VHGLQ%DG)DLWK

  7KH3DQHOKDVGLIILFXOW\DFFHSWLQJWKDWWKH5HVSRQGHQWUHJLVWHUHGDQGXVHGWKHGLVSXWHGGRPDLQQDPHVLQEDGIDLWKGXHWRWKHWLPLQJ
  RIWKHIROORZLQJFLUFXPVWDQFHV

  WKH5HVSRQGHQWUHJLVWHUHGWKHGLVSXWHGGRPDLQQDPHVLQ7KLVLVDOPRVWWHQ\HDUVSULRUWRWKH&RPSODLQDQW VWUDGHPDUN
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  DQH[WUHPHO\VXFFHVVIXO,QWHUQHWPDJD]LQHIURPWR +RZHYHUWKH&RPSODLQDQWKDVSURYLGHGQRHYLGHQFHRIWKLVIDFW7KH
  &RPSODLQDQW VSULPDU\,QWHUQHWSUHVHQFHIRU5XQZD\0DJD]LQHDSSHDUVWREHYLDWKHZHEVLWH³ZZZUXQZD\PDJD]LQHXV´([SDQGHG
  VHFRQGOHYHO³86´GRPDLQVZHUHQRWODXQFKHGXQWLO$SULOVRWKH&RPSODLQDQWFRXOGQRWKDYHEHHQUXQQLQJLWV³VXFFHVVIXO
  ,QWHUQHWPDJD]LQH´IURPWKLVORFDWLRQSULRUWR,ILWZDVSURYLGLQJDPDJD]LQHSULRUWRWKDWGDWH SHUKDSVIURPWKH
  ³ZZZYLSVDORQFRP´ZHEVLWHDVPHQWLRQHGLQWKH6XSSOHPHQWDO)LOLQJ LWKDVIDLOHGWRSURYLGHVXIILFLHQWHYLGHQFHRIWKDWIDFWDQG
  HYLGHQFHRIXVHRIWKHWUDGHPDUN581:$<0$*$=,1(IURPWKDWWLPH

  WKHGDWHRIFRPPHQFHPHQWRIWKH5XQZD\0DJD]LQHEXVLQHVVSURYLGHGE\WKH&RPSODLQDQWLVDOVRLQFRQVLVWHQWZLWKWKHGDWHVRIILUVW
  XVHLQWKH&RPSODLQDQW VWUDGHPDUNUHJLVWUDWLRQ7KHHDUOLHVWGDWHRIXVHVHWRXWLQWKH&RPSODLQDQW VWUDGHPDUNUHJLVWUDWLRQRIWKH
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  581:$<0$*$=,1(ZDVQRWVLJQLILFDQWO\XVHGE\WKH&RPSODLQDQWLQDSULQWHGRURQOLQHSXEOLFDWLRQXQWLOZHOODIWHUWKH
  5HVSRQGHQWILUVWUHJLVWHUHGWKHGLVSXWHGGRPDLQQDPHV

  RWKHUGRPDLQQDPHVDQGWUDGHPDUNVUHODWHGWRWKH&RPSODLQDQW VEXVLQHVV VXFKDVWKH581:$<%($87<WUDGHPDUNDQG
  UXQZD\EHDXW\FRP!GRPDLQQDPH ZHUHQRWILOHGRUUHJLVWHUHGXQWLOVHYHUDO\HDUVDIWHUWKHGLVSXWHGGRPDLQQDPHVZHUHUHJLVWHUHG

  ,QOLJKWRIWKHDERYHIDFWRUVWKH3DQHOILQGVWKDWWKHUHLVQRHYLGHQFHEHIRUHWKH3DQHOWRGHPRQVWUDWHWKDWWKH5HVSRQGHQWZDVDZDUH
  RUVKRXOGKDYHEHHQDZDUHRIWKH&RPSODLQDQWRULWVPDJD]LQHEXVLQHVVDWWKHWLPHLWUHJLVWHUHGWKHGLVSXWHGGRPDLQQDPHV7KH
  UHFRUGEHIRUHWKH3DQHODOVRVKRZVWKDWWKH&RPSODLQDQW VXVHRI581:$<0$*$=,1(DVDWUDGHPDUNRQO\EHFDPHVLJQLILFDQWLQRU
  DURXQGZKLFKLVZHOODIWHUWKHUHJLVWUDWLRQGDWHVRIWKHGLVSXWHGGRPDLQQDPHV

  :KLOHWKH5HVSRQGHQWKDVDGPLWWHGO\KHOGWKHGLVSXWHGGRPDLQQDPHVIRUDVLJQLILFDQWSHULRGRIWLPHZLWKRXWDSSDUHQWXVHWKH
  5HVSRQGHQWKDVPDGHDWWHPSWVWRSURYLGHFRQWHQWIRULWVZHEVLWHVLQDFFRUGDQFHZLWKKLVRULJLQDOLQWHQWLRQV7KH3DQHOWKHUHIRUHGRHV
  QRWFRQVLGHUWKDWWKH5HVSRQGHQWKDVEHHQSDVVLYHO\KROGLQJWKHGLVSXWHGGRPDLQQDPHVLQFLUFXPVWDQFHVVXIILFLHQWWRHVWDEOLVK
  UHJLVWUDWLRQDQGXVHLQEDGIDLWKIRUWKHSXUSRVHRIWKH3ROLF\

  $FFRUGLQJO\WKH&RPSODLQDQWKDVIDLOHGWRHVWDEOLVKWKHWKLUGHOHPHQW



  'HFLVLRQ

  )RUDOOWKHIRUHJRLQJUHDVRQVWKH&RPSODLQWLVGHQLHG


                                                                   -RKQ6ZLQVRQ
                                                                   6ROH3DQHOLVW

                                                               'DWHG-XO\




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   5XQZD\0DJD]LQH&RP²

   $SSOLFDWLRQQXPEHU                        ,QGH[KHDGLQJV
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   5HJLVWUDWLRQQXPEHU
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   7\SH V                                    6HUYLFHV
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   &DWHJRU\                                  LQIRUPDWLRQ
   7UDGHPDUN

   &,32VWDWXV                               &ODVVLILFDWLRQGDWD
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   )LOHG                                     7KHFODVVLILFDWLRQGDWDLVSURYLGHGIRULQIRUPDWLRQDQG
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                                             DFFXUDF\RIWKHFODVVHVDVVLJQHGWRWKHWUDGHPDUN7KLV
   5HJLVWHUHG
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   5HJLVWUDWLRQ([SLU\                       3HUVRQDODQGOHJDO
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   $JHQW
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   $FWLRQ+LVWRU\
                                $FWLRQ        'XH
     $FWLRQ                     GDWH          GDWH         &RPPHQWV

     )LOHG                      
                                

     &UHDWHG                    
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     )RUPDOL]HG                 
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     6HDUFK                     
     5HFRUGHG                   

     ([DPLQHU V)LUVW                    
     5HSRUW                              

     &RUUHVSRQGHQFH                      
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     &RUUHVSRQGHQFH                      
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     $SSURYDO1RWLFH                     
     6HQW                                

     $SSURYHG                                         $33529('%<352*5$0(;0
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                                $FWLRQ        'XH
     $FWLRQ                     GDWH          GDWH         &RPPHQWV

     $GYHUWLVHG                                       9RO,VVXH
                                

     2SSRVHG                                          2SSRVLWLRQ)LOHG
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     2SSRVLWLRQ                                       2SSRVLWLRQ6HFWLRQ&DVH1XPEHU
     5HPRYHG                                          2SSRVLWLRQ6HFWLRQGHHPHGZLWKGUDZQ

     $OORZHG                    
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     $OORZDQFH                           
     1RWLFH6HQW                         

     5HJLVWHUHG                          
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   2SSRVLWLRQ+LVWRU\
   &DVH5XQZD\%HDXW\,QF'HHPHG:LWKGUDZQ
                                                    6WDWHPHQWRI2SSRVLWLRQ

     $FWLRQ                                                                $FWLRQGDWH                      'XHGDWH

     62)HH5HFHLYHG                                                      

     62)LOHG                                                             

     62)RUZDUGHG)RU5HYLHZ                                              

     626HQW7R$SSOLFDQW                                                                        



                                                         &RXQWHU6WDWHPHQW

     $FWLRQ                                                              $FWLRQGDWH                       'XHGDWH

     &66HUYHG2Q2SSRQHQW                                                                      

     &6)LOHG%\$SSOLFDQW                                              

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     $FWLRQ                                                             $FWLRQGDWH                         'XHGDWH

     &RUUHVSRQGHQFH&UHDWHG                                              

     1RWH7R)LOH                                                                                 

     &RUUHVSRQGHQFH&UHDWHG                                              



                                                       (YLGHQFH2SSRQHQW

     $FWLRQ                                                                             $FWLRQGDWH                'XHGDWH

     &DVH&ORVHG'HHPHG:LWKGUDZQ                                                     




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    GHFHLYLQJ&U\VWDO5RFN,GDW 1RWNQRZLQJWKHWUXHLGHQWLW\RI'HIHQGDQWV
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     DGYHUWLVLQJFDPSDLJQ
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     0DJD]LQH´'HFO0D]]RWWDDW 7KHWHUPV07990$DQG2VFDUDUHDOO
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    DOUHDG\VXIIHUHGLUUHSDUDEOHKDUPGXHWRWKHDFWXDOFRQIXVLRQFDXVHGE\'HIHQGDQWV
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    H[SODLQLQJLQGHWDLOWKDWWKH'HIHQGDQWVDQG3ODLQWLIIDUHQRWWKHVDPHFRPSDQ\QRU
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    VXIIHULUUHSDUDEOHKDUPLI'HIHQGDQWVDUHQRWHQMRLQHGSULRUWRWKHUHOHDVHGDWHRI
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     3UHOLPLQDU\,QMXQFWLRQDQGZKHUHWKHPRYLQJSDUW\PDNHVDVKRZLQJWKDW
     LPPHGLDWHDQGLUUHSDUDEOHGDPDJHPD\UHVXOWEHIRUHWKH'HIHQGDQWVFDQEHKHDUGLQ
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          WUDGHPDUNLQIULQJHPHQW´ 7KXVWKHVDPHWHVWDSSOLHVIRUOLNHOLKRRGRIVXFFHVVRQWKHPHULWVRIDOORI&RPPRQ6HQVH
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    VLPLODUPDUNVLQWKHVDPHLQGXVWU\DQGPDUNHWRUZLWKLQWKHVHQLRUXVHU¶VQDWXUDO
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    LVVXHVEHDULQJWKHLGHQWLFDOWUDGHPDUNDQGXVLQJQHDULQJLGHQWLFDOIRQWDV3ODLQWLII¶V
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            :KHQFRPSDULQJWKHVLPLODULW\RIWZRWUDGHPDUNVFRXUWVPXVWORRNDWWKH
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    UHFRJQL]LQJWKDWLWVXVHH[DFHUEDWHVDQGLV³SDUWLFXODUO\VXVFHSWLEOHWR´DOLNHOLKRRG
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     ZLWKRUVSRQVRUHGGHIHQGDQW¶VGDWDEDVHLILWHQWHUHGGHIHQGDQW¶VZHEVLWHORFDWHGDW
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             *LYHQWKDWERWKHQWLWLHVKDYHDFRPSHWLQJSUHVHQFHRQWKH,QWHUQHWWKLVIDFWRU
     ZHLJKVLQIDYRURIDILQGLQJRIOLNHOLKRRGRIFRQIXVLRQDQGVXSSRUWVDJUDQWRI
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    5HVWDWHPHQW 7KLUG RI8QIDLU&RPSHWLWLRQFRPPHQW,  ³5HJLVWHUHG
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    SURWHFWLRQ´$PHULFDQD7UDGLQJ,QFY5XVV%HUULH &R)G
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     ZHOONQRZQZLWKLQWKHKLJKHQGIDVKLRQLQGXVWU\,GDW 
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    SXUFKDVHUZLOOH[HUFLVHLVHTXDOWRWKDWRIWKHOHDVWVRSKLVWLFDWHGFRQVXPHU
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    SXEOLFDFFHVVLQJIUHHZHEVLWHVRUKHDULQJRUUHDGLQJLQIRUPDWLRQWKURXJKWKHPHGLD
    $VFDQEHVHHQDVSURRILQWKHDFWXDOFRQIXVLRQIURPWKH$XGLJLHU5RFNLQFLGHQW
    GHVFULEHGLQ6HFWLRQ,,%WKHFORVHSUR[LPLW\RIWKHZHEDGGUHVVHVZLWKLQWKH
    *RRJOHFRP¶VILUVWSDJHUDQNLQJDQGWKHLGHQWLFDOXVHRIWKHWUDGHPDUNZLOOFDXVH
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    GHDOLQJZLWKLQH[SHQVLYHSURGXFWVFXVWRPHUVDUHOLNHO\WRH[HUFLVHOHVVFDUHWKXV
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     FRQVXPHUH[HUFLVHVDJUHDWGHJUHHRIFDUH´ 
             7KHOLNHOLKRRGRIFRQIXVLRQLVKHLJKWHQHGIXUWKHULQFDVHVZKHUHWKHSXEOLF

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     SRWHQWLDOPHPEHUVZKRPLJKWQRWNQRZQRUUHDOL]HWKDWWKHUHZDVDGLIIHUHQFH
     EHWZHHQWKHWZRSURJUDPV 7KDWLVFHUWDLQO\WUXHLQWKLVFDVHDVVXFKWKLVIDFWRU
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    IHGHUDOWUDGHPDUNUHJLVWUDWLRQRQWKH3ULQFLSDO5HJLVWUDWLRQZKHQ3ODLQWLII¶V
    UHJLVWUDWLRQZDVFLWHGLQWKH-XO\2IILFH$FWLRQUHMHFWLQJ'HIHQGDQW¶V
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     %HFDXVHDWKLUGSDUW\QRWUHODWHGWRWKLVOLWLJDWLRQUHJLVWHUHGWKHGRPDLQQDPH
     ZZZUXQZD\PDJD]LQHFRPDQGZZZUXQZD\PDJD]LQHQHWLQ3ODLQWLII
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    WUDGHPDUNDQGLQIHULRUDWWHPSWWRGXSOLFDWHWKHVDPHGHVLJQPDUNDV3ODLQWLIIDV
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     OLNHOLKRRGRIFRQIXVLRQPD\E\LWVHOIFRQVWLWXWHDVKRZLQJRIVXEVWDQWLDOOLNHOLKRRG
     RISUHYDLOLQJRQWKHPHULWVDQGRUDVXEVWDQWLDOWKUHDWRILUUHSDUDEOHKDUP :RUOG
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     WKHSXEOLFWREHOLHYHWKDW'HIHQGDQWVDUHQRWRQO\DIILOLDWHGZLWK3ODLQWLIIEXWLV
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    $GGLWLRQDOO\DOWKRXJK3ODLQWLII¶VXVDJHLVQDWLRQDODQGLQWHUQDWLRQDO3ODLQWLIIDQG
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     'HIHQGDQWV¶GHVLJQDWLRQ
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     EHWZHHQWKHSODLQWLII¶VPDUNDQGWKHGHIHQGDQW¶VLWLVRUGLQDULO\SUHVXPHGWKH
     SODLQWLIIZLOOVXIIHULUUHSDUDEOHKDUPLILQMXQFWLYHUHOLHILVQRWJUDQWHG´
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    KDUPWR3ODLQWLIIDQGLWVUHSXWDWLRQ3ODLQWLIIKDVDQGZLOOFRQWLQXHWREHDUWKHEXUQW
    RIH[SODLQLQJWRSRWHQWLDOFOLHQWVWKDWWKH'HIHQGDQWLVQRWLQDQ\ZD\UHODWHGRU
    DIILOLDWHGWR3ODLQWLII
            0RUHRYHULWVKRXOGEHQRWHGWKDW3ODLQWLII¶VUHSXWDWLRQZLWKLQWKHKLJKHQG
    IDVKLRQLQGXVWU\LVFUXFLDOWRLWVOHJLWLPDF\ZLWKWKHSXEOLFFHOHEULWLHVVXSHUPRGHOV
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    ZLOOEHPLVDWWULEXWHGWR3ODLQWLIIDQGZRXOGEHGHYDVWDWLQJWRLWVFRPSDQ\,G
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     SLFWXUHRIWKH7ZLOLJKWVHTXHORQ1RYHPEHUWKHLQMXU\3ODLQWLIIZLOOVXIIHU
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     7KHEXUGHQRIFKDQJLQJDQDPHLWRQO\UHFHQWO\EHJDQXVLQJLVQRKDUGVKLSXQGHU
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      4 Fax: 310-246-9980
          michael@patentlawip.com
      5
          Attorneys for Plaintiff/Counterdefendants
      6 RUNWAY BEAUTY, INC., VINCENT MAZZOTTA
      7
      8
                               UNITED STATES DISTRICT COURT
      9
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
    10
                                               )          Case No.: CVO9-08333-JAK
    11 RUNWAY BEAUTY, INC., an Arizona         )          (JEMX)
          Corporation,                         )          [The Honorable John A. Kronstadt]
    12                                         )
          Plaintiff,                           )          ORDER GRANTING JOINT
    13                                         )
                                               )          STIPULATION OF DISMISSAL
    14           vs.                           )          WITH PREJUDICE AND
                                               )          COURT ORDER OF DISMISSAL
    15                                         )
          RUNWAY MAGAZINE, INC, a              )          WHILE RETAINING
    16    California Corporation; and JAMES
          BUCCELLI; and DOES 1-10, inclusive, ))          JURISDICTION
    17                                         )
          Defendants.                          )          JS-6
    18                                         )
          JAMES BUCCELLI, an Individual,       )
    19                                         )
          Counterclaimant,                     )
    20                                         )
                                               )
    21                                         )
                 vs.                           )
    22                                         )
    23    RUNWAY BEAUTY, INC., an Arizona ))
          Corporation; and VINCENT MAZZOTA, )
    24    an Individual; and ROES 1 through 10 )
          inclusive,                           )
    25                                         )
          Counterdefendants.                   )
    26                                         )
    27
    28
                                               ORDER
                              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
Case
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      1
      2    IT IS HEREBY ORDERED:

      3           1. This matter pending before the Court (Runway Beauty, Inc. v. Runway
      4
                     Magazine, Inc. et al Case No.: 2:09-cv-08333-JAK –JEM) is hereby
      5
      6              dismissed with prejudice pursuant to the joint settlement and joint

      7              request for dismissal by the Parties;
      8
                  2. This Court will retain jurisdiction to enforce the terms and conditions
      9
    10               of the joint settlement between the Parties and of which a sealed copy
    11               will be filed with the Court ;
    12
                  3. The Parties are to bear their own attorneys’ fees and costs incurred in
    13
    14               connection with this action;
    15
                    IT IS SO ORDERED.
    16
           Dated: October 31, 2011
    17
    18                                          _________________________________
    19                                          Hon. John A. Kronstadt
                                                United States District Court Judge
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                            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
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                       UHVWRUHDFFHVVWRWKHGLVSXWHGPDWHULDORQ,VVXX·VSODWIRUPSOHDVHSURYLGHXVZLWKD
                       FRS\RIWKHILQDOMXGJPHQWDWWKDWWLPH

                       6LQFHUHO\
                       $XGUH\


                       7ROHDUQPRUHDERXW,VVXXFKHFNRXWRXU+HOS&HQWHU



      %HORZLVWKHFRQYHUVDWLRQ\RXKDGZLWKWKH,VVXX6XSSRUWWHDP
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                       'HDU0DGDP

                       :HKDYHUHFHLYHGQRWLFHIURPWKHSHUVRQZKRQRWLILHGXVRIFODLPHGLQIULQJHPHQW WKH
                       ´QRWLI\LQJSDUW\µ RILWVFLYLODFWLRQDJDLQVW\RXUHODWLQJWRWKHGLVSXWHGPDWHULDORQ
                       ,VVXX·VSODWIRUP3XUVXDQWWR,VVXX·VSROLF\ZHZLOOFRQWLQXHWRGLVDEOHDFFHVVWRWKH
                       GLVSXWHGPDWHULDOSHQGLQJWKHILQDOUHVROXWLRQRIWKHDFWLRQLQFRXUW,IWKDWDFWLRQUHVXOWV
                       LQDILQDOMXGJPHQWWKDWWKHGLVSXWHGPDWHULDOVDUHQRWLQIULQJLQJDQG\RXWKHQZLVKWR



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                        *R'DGG\¶V7UDGHPDUN,QIULQJHPHQW3ROLF\ZKLFKFDQEHIRXQGKHUH

                        KWWSVZZZJRGDGG\FRPDJUHHPHQWVVKRZGRFDVS["SDJHLG 75$'0$5.B&23<

                        ,QDFFRUGDQFHZLWKWKLVSROLF\DVZHOODVWKHKRVWLQJDJUHHPHQW\RXFRQVHQWHGWRXSRQ
                        SXUFKDVHRIWKHVHUYLFHZHZLOOQHHGWRVXVSHQGWKLVKRVWLQJDFFRXQWLIWKLVPDWWHUFDQ
                        QRWUHVROYHGE\UHPRYLQJWKLVFRQWHQWZLWKLQWKHQH[WKRXUVRUVXEPLWWLQJDFRPSOHWH
                        FRXQWHUQRWLILFDWLRQDVGHVFULEHGLQWKHSROLF\

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                        2SWLRQ&217(175(029$/

                        ,QRUGHUWRUHVROYHWKLVVLWXDWLRQDQGDYRLGVXVSHQVLRQRI\RXUVLWH\RXZLOOQHHGWR
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                        \RXZLOOQHHGWRVXEPLWDFRPSOHWHFRXQWHUQRWLILFDWLRQ/HWXVNQRZLI\RXUHTXLUHIXUWKHU
                        LQIRUPDWLRQDQGRULQVWUXFWLRQVRQKRZWRILOHDFRXQWHUQRWLILFDWLRQ

                        3OHDVHXQGHUVWDQGWKDWDVDZHEKRVWLQJSURYLGHUZHDUHQRWDEOHWRPDNHOHJDO
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                        &RPSODLQW7\SH$ZHEVLWHVHOOLQJFRXQWHUIHLWJRRGV
                        'HVFULSWLRQRI,QIULQJHPHQW7UDGHPDUNFRS\ULJKWVLPDJHU\RISKRWRJUDSKHUVZRUNLQJIRU
                        5XQZD\7KHFRPSDQ\LPDJHRI581:$<581:$<VXHGWKLVFRPSDQ\DQGWKH\IDLOHG
                        WRUHVSRQG86)HGHUDO&RXUW12&9)02 -&[ )DLOXUHWRUHVSRQGVKLIWV
                        KRVWLQJGRPDLQUHJLVWU\DQGDQ\VRFLDOPHGLDSDJHWRGHIDXOWWRKRVWLQJSURYLGHU
                        85/RI,QIULQJHPHQWZZZUXQZD\PDJD]LQHVFRP
                        6XSSRUWLQJGRFXPHQWDWLRQDWWDFKHG

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                        DXWKRUL]HGE\WKHWUDGHPDUNRZQHULWVDJHQWRUWKHODZ
                        7KHLQIRUPDWLRQLQWKLVQRWLILFDWLRQLVDFFXUDWH
                        8QGHUSHQDOW\RISHUMXU\,DPDXWKRUL]HGWRDFWRQEHKDOIRIWKHRZQHURIDQH[FOXVLYH
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                        UHFHLYHG\RXUFRXQWHUQRWLILFDWLRQUHJDUGLQJWKHZHEVLWHOLVWHGDERYH

                        ,QUHVSRQVHWRWKHFRXQWHUFODLPDQGDVGHVFULEHGLQWKHDERYHPHQWLRQHGSROLF\*R
                        'DGG\ZLOOUHSODFHWKHUHPRYHGPDWHULDODQGFHDVHGLVDEOLQJDFFHVVWRLWLQQRW
                        OHVVWKDQQRUPRUHWKDQEXVLQHVVGD\VIROORZLQJUHFHLSWRIWKH&RXQWHU
                        1RWLILFDWLRQXQOHVV*R'DGG\ILUVWUHFHLYHVQRWLFHIURPWKH&RPSODLQLQJ3DUW\WKDW
                        VXFK&RPSODLQLQJ3DUW\KDVILOHGDQDFWLRQVHHNLQJDFRXUWRUGHUWRUHVWUDLQWKH
                        ,QIULQJHUIURPHQJDJLQJLQLQIULQJLQJDFWLYLW\UHODWLQJWRWKHPDWHULDORQ*R'DGG\ V
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                                      OFFICES OF
                                    #:3439
                                      WILLIAM D. GOLDSTEIN
                                             4030 Sawtelle Blvd.
                                        LOS ANGELES, CALIFORNIA 90066
                                         TELEPHONE: (310) 437-0108
                                          FACSIMILE: (323) 372-3589

                                  E-MAIL: WDGOLDSTEIN@WDGOLDSTEIN.COM



                                        September 18, 2019

                              MEET AND CONFER LETTER-MTD


 ELEONORA DE GRAY                                                       Via Email: infodegray@gmail.com
 OFFICIAL RUNWAY MAGAZINE
 23-25, rue Jean Jacques Rousseau
 75001 Paris, France

 Dear Ms. De Gray:

        This letter is intended to conform with both the FRCP and Local Rule 37-1 related to the
 required Meet and Confer process prior to the filing of Motions to Compel, et al under FRCP
 Rule 37.

         I am on notice of your intent to file yet another Motion to Dismiss the personal case and
 your proposed instructions to Counsel to file a Motion to Dismiss for EURL Eleonora De Gray.
 That said, to simplify matters, please keep any discussion of said motions, especially Meet and
 Confer letters, separate from those related to discovery issues. This will create a much cleaner
 record for the Court.

         Please state explicitly the basis for your Motion to Dismiss. In doing so, I humbly request
 that your letter stay strictly to the factual basis and omit the often derogatory comments in your
 previous filings on the matter. Also, please note that the Court in its Order of September 11,
 2019 has stated “Ms. De Gray’s previously filed Answer to the FAC (Dkt. 40) will be
 deemed the operative answer to plaintiff’s FAC.” This means that you have placed yourself
 under the Jurisdiction of the Court. Hence, both the Service issues and the Jurisdictional
 arguments in your previous Motions to Dismiss are moot and you should not waste your time
 repeating them.

         As relates to the case against the EURL, your selected Counsel will be the party required
 to instigate and participate in the Meet and Confer process. Once he has noticed his participation,
 I will not be allowed to discuss that aspect of case with you as you will then be a represented
 party. Please limit out Meet and Confer discussions to the case against you personally for which
 you have filed an answer.

         If you have retained Counsel for EURL Eleonora De Gray at this time I would very much
 appreciate it if you would advise me of his name and contact information so that I can call to say
 hello and discuss the case. This will, by law, start the Rule 26 process again for the EURL
 aspects of the case. This begins despite his filing of MTD as per the April 16, 2018 Order:
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                                   #:3440


 “discovery shall not be stayed while any motion is pending, including any motion to dismiss
 and/or motion for protective order”

        I look forward to your response to this Meet and Confer letter.

        Nothing herein is a waiver of any of my client’s rights, all of which are expressly
 reserved herein.

 Sincerely:


 William D.
 Willi   D Goldstein
            G ld i
 Attorney for Runway TV, LLC
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Case 2:18-cv-02503-FMO-JC DocumentLAW106     Filed 10/16/19 Page 289 of 295 Page ID
                                      OFFICES OF
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                                      WILLIAM D. GOLDSTEIN
                                             4030 Sawtelle Blvd.
                                        LOS ANGELES, CALIFORNIA 90066
                                         TELEPHONE: (310) 437-0108
                                          FACSIMILE: (323) 372-3589

                                  E-MAIL: WDGOLDSTEIN@WDGOLDSTEIN.COM



                                        September 19, 2019

                              MEET AND CONFER LETTER-MTD


 ELEONORA DE GRAY                                                       Via Email: infodegray@gmail.com
 OFFICIAL RUNWAY MAGAZINE
 23-25, rue Jean Jacques Rousseau
 75001 Paris, France

 Dear Ms. De Gray:

        This letter is intended to conform with both the FRCP and Local Rule 37-1 related to the
 required Meet and Confer process prior to the filing of Motions to Compel, et al under FRCP
 Rule 37.

        The purpose for a Meeting of Counsel, also known as a Meet and Confer exchange is to
 examine the issues in the proposed motion to see if they can be rectified without the need for the
 Courts involvement. That said I repeat my prior request.

         Please state explicitly the basis for your Motion to Dismiss. In doing so, I humbly
 request that your letter stay strictly to the factual basis and omit the often derogatory comments
 in your previous filings on the matter. Also, please note that the Court in its Order of September
 11, 2019 has stated “Ms. De Gray’s previously filed Answer to the FAC (Dkt. 40) will be
 deemed the operative answer to plaintiff’s FAC.” This means that you have placed yourself
 under the Jurisdiction of the Court. Hence, both the Service issues and the Jurisdictional
 arguments in your previous Motions to Dismiss are moot and you should not waste your time
 repeating them.

        Nothing herein is a waiver of any of my client’s rights, all of which are expressly
 reserved herein.

 Sincerely:


 William D.
         D Goldstein
 Attorney for Runway TV, LLC
 Case 2:18-cv-02503-FMO-JC Document 106 Filed 10/16/19 Page 290 of 295 Page ID
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